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       ·1· · · · · · · ·UNITED STATES DISTRICT COURT
       · · · · · · · · · MIDDLE DISTRICT OF FLORIDA
       ·2· · · · · · · · · ·FORT MYERS DIVISION

       ·3

       ·4· ·JENNA CLARK,

       ·5· · · · · · ·Plaintiff,

       ·6· ·vs.· · · · · · · · · · · · · · · ·Case No.:
       · · · · · · · · · · · · · · · · · · · ·2:22-cv-614-SPC-NPM
       ·7· ·CARMINE MARCENO, in his official
       · · ·capacity as Sheriff of Lee
       ·8· ·County, Florida,

       ·9· · · · · · ·Defendant.
       · · _________________________________/
       10

       11

       12· · · · · · · DEPOSITION OF JENNA CLARK

       13· · · · · · · ·APPEARING REMOTELY FROM

       14· · · · · · · · · ·MIAMI, FLORIDA

       15
       · · · · · · · · · · DECEMBER 7, 2023
       16
       · · · · · · · · · · · ·10:02 A.M.
       17

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       24
       · · · · · · · · · Stenographically Reported by:
       25· · · · · · · · · Michelle L. Deliman, FPR
       · · · · · · · APPEARING REMOTELY FROM VALRICO, FLORIDA
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       ·1· · · · ·REPORTED REMOTELY FROM VALRICO, FLORIDA
       ·2· · · · · ·THURSDAY, DECEMBER 7, 2023, 10:02 A.M.
       ·3· ·(Witness presents government issued identification and
       ·4· · · · · · ·identity verified.)
       ·5
       ·6· · · · · · · · P-R-O-C-E-E-D-I-N-G-S
       ·7· · · · · · · · · · JENNA CLARK,
       ·8· a witness herein, having been first duly sworn, was
       ·9· examined and testified as follows:
       10· · · Defendant's Exhibit Nos. 1-27 were marked for
       11· identification)
       12· · · · · · · · · DIRECT EXAMINATION
       13· BY MR. STEFANY:
       14· · · Q.· ·Please state your full name for the record.
       15· · · A.· ·Jenna Diane Clark.
       16· · · Q.· ·Ms. Clark, what is your date of birth?
       17· · · A.· ·1/12/1962.
       18· · · Q.· ·Have you ever given a deposition before today's
       19· proceeding?
       20· · · A.· ·A deposition one time at the sheriff's office
       21· for -- I was a witness for court.
       22· · · Q.· ·For what?· I didn't --
       23· · · A.· ·It was for a case of somebody that was trying
       24· to impersonate an officer, and I was a witness.· And,
       25· yes, I gave a deposition, and also for when I got
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       ·1· divorced.
       ·2· · · Q.· ·So how long ago was the deposition you gave in
       ·3· the criminal case, approximate?
       ·4· · · A.· ·Probably five years.
       ·5· · · Q.· ·And your family law proceeding, when did you
       ·6· give a deposition?· How long ago was that?
       ·7· · · A.· ·1991, '92, something like that.· I don't know
       ·8· exactly.
       ·9· · · Q.· ·So let me take a few minutes at the beginning
       10· of this deposition to give you a few rules for things
       11· that will help us I think have a more efficient
       12· question-and-answer session here today.· Okay?
       13· · · A.· ·Okay.
       14· · · Q.· ·So you've just taken an oath to tell the truth,
       15· and you understand that the oath is under penalty of
       16· perjury, correct?
       17· · · A.· ·Correct.
       18· · · Q.· ·So what's important is that you provide
       19· truthful answers to the best of your knowledge to all of
       20· the questions, and I'm going to do my best to make sure
       21· that the questions I ask are clear and understandable;
       22· but if for some reason you don't understand what I'm
       23· asking or perhaps you didn't hear me, the audio blips or
       24· something, feel free to tell me you didn't get the
       25· question.· I'll rephrase it or I'll restate it because I
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       ·1· want to make sure we are accurately communicating this
       ·2· morning.· Okay?
       ·3· · · A.· ·Okay.
       ·4· · · Q.· ·If you know the answer to my question based
       ·5· upon your personal knowledge, please answer it to the
       ·6· best of your ability accurately.· And I just don't want
       ·7· to encourage you in any way to speculate about an answer
       ·8· because that doesn't really help me or your attorney.
       ·9· If you don't know something, it's perfectly fine, once
       10· you've exhausted your memory bank, to tell me that you
       11· don't recall or don't remember.· Okay?
       12· · · A.· ·Okay.
       13· · · Q.· ·If you answer my question without asking to be
       14· restated, I'm going to assume that you have understood
       15· my question based upon your proceeding to provide me a
       16· substantive answer.· Okay?
       17· · · A.· ·Okay.
       18· · · Q.· ·And since we're doing this deposition here
       19· today via Zoom, we've got little rectangles that we're
       20· all appearing in, so I'll do my best to allow you to
       21· complete your answer to my questions this morning, and
       22· as we proceed, please do me the same courtesy of waiting
       23· until I'm finished with my question before you start to
       24· answer.· That'll help our court reporter.· Okay?
       25· · · A.· ·Okay.
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       ·1· · · Q.· ·Your attorney may object or interpose an
       ·2· objection to a question that I ask.· Unless directed
       ·3· otherwise by your counsel, even if there is an objection
       ·4· stated, you will answer the question as best you
       ·5· understand it so that that doesn't become a process that
       ·6· is confusing in any way.· Okay?
       ·7· · · A.· ·Okay.
       ·8· · · Q.· ·When I get done with my questions, your
       ·9· attorney may have the opportunity -- or would have the
       10· opportunity to ask any follow-up questions he would like
       11· to ask you today.· If at any time you want to take a
       12· break, this is not a marathon or an endurance contest.
       13· Just let me know.· As long as we don't have a question
       14· pending, we'll give the courtesy of breaks when needed.
       15· Okay?
       16· · · A.· ·Okay.
       17· · · Q.· ·So you identified at the beginning that you're
       18· located in Miami, Florida today personally giving this
       19· testimony.· Where specifically in Miami are you located?
       20· · · A.· ·The address, you want the address?
       21· · · Q.· ·Yes, ma'am, if you know it.
       22· · · A.· ·Brickell Key Drive at their law firm, Derek
       23· Smith.
       24· · · Q.· ·Okay.
       25· · · A.· ·I don't know the exact number.
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        ·1· · · Q.· ·All right.· And are you in the room by yourself
        ·2· or is your attorney in the same room with you?
        ·3· · · A.· ·He's in the room.
        ·4· · · Q.· ·Is anyone else in the room other than your
        ·5· attorney, Mr. MacDonald?
        ·6· · · A.· ·No, sir.
        ·7· · · Q.· ·Do you have any documents in front of you?
        ·8· · · A.· ·No, sir.
        ·9· · · Q.· ·As I understand, you are represented by
        10· Mr. MacDonald in this litigation; is that correct?
        11· · · A.· ·Correct.
        12· · · Q.· ·Are you still represented by Attorney Lauren
        13· Wilson?
        14· · · A.· ·No.
        15· · · Q.· ·Why not, if you know?
        16· · · A.· ·She took another position in a different law
        17· firm, as far as I know.
        18· · · · · ·(Discussion was held off the record)
        19· BY MR. STEFANY:
        20· · · Q.· ·Ms. Clark, the reason I asked you about your
        21· attorney is I want to -- as part of my introductory kind
        22· of instructions to you as part of the deposition
        23· process, at no time today am I intending to ask you
        24· anything about communications you may have had prior to
        25· this date with your attorney, Kyle MacDonald, or with
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        ·1· your prior attorney, Lauren Wilson.· Okay?
        ·2· · · A.· ·Okay.
        ·3· · · Q.· ·And I have several questions today concerning
        ·4· your prior employment with the Lee County Sheriff's
        ·5· Office.· For the sake of the court reporter having to
        ·6· type, I would like to refer to the Lee County Sheriff's
        ·7· Office as the LCSO, just the initials.· So if I ask
        ·8· LCSO, is that acceptable to you to refer to the
        ·9· sheriff's office?
        10· · · A.· ·Yes.
        11· · · Q.· ·Okay.· So what, if anything, did you do in
        12· preparation to coming to your deposition today about
        13· this case?
        14· · · A.· ·Like give me an example of what you're talking
        15· about.
        16· · · Q.· ·Well, did you speak with your lawyer prior to
        17· today's deposition about the deposition?
        18· · · A.· ·Yes.
        19· · · Q.· ·And when did you speak with him?
        20· · · A.· ·Exact date?
        21· · · Q.· ·Yeah.
        22· · · A.· ·I don't recall.
        23· · · Q.· ·In the last month?
        24· · · A.· ·Yes.
        25· · · Q.· ·Okay.· And do you recall how long that meeting
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        ·1· with your lawyer lasted?
        ·2· · · A.· ·An hour.
        ·3· · · Q.· ·Okay.· So since meeting with your attorney and
        ·4· in preparation for appearing at your deposition today,
        ·5· have you reviewed any documentation of any kind?
        ·6· · · A.· ·Yes.
        ·7· · · Q.· ·Tell me what documentation you have reviewed in
        ·8· preparing to come to your deposition today?
        ·9· · · A.· ·The actual lawsuit and the interrogatories.
        10· · · Q.· ·Other than those two documents, have you
        11· reviewed anything else?
        12· · · A.· ·I reviewed today the phone list that was sent
        13· over to him.
        14· · · Q.· ·The list of your agency-issued cell phone?
        15· · · A.· ·Yes.
        16· · · Q.· ·Anything else?
        17· · · A.· ·Nope.
        18· · · Q.· ·Okay.· And other than speaking to your
        19· attorney, have you spoken to anyone else about your
        20· deposition here today?
        21· · · A.· ·Yes.
        22· · · Q.· ·Who?
        23· · · A.· ·My husband and my two daughters.
        24· · · Q.· ·When did you speak with them about that?
        25· · · A.· ·Several times, and I can't tell you exactly
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        ·1· what day, but today as well.
        ·2· · · Q.· ·Other than talking to them about the fact that
        ·3· you are having your deposition today, did you talk with
        ·4· them at all about any of the allegations you've made in
        ·5· your lawsuit?
        ·6· · · A.· ·Yes.
        ·7· · · Q.· ·Okay.· So let's start with your husband.
        ·8· That's William Paul Clark?
        ·9· · · A.· ·Yes.
        10· · · Q.· ·What did you speak with your husband about
        11· concerning the allegations you've made in this lawsuit?
        12· · · A.· ·I read the whole thing, and I -- anything that
        13· I gave to my attorney, I also shared with him.
        14· · · Q.· ·So I imagine from that answer, you're referring
        15· to perhaps many conversations you've had with your
        16· husband about the allegations of this lawsuit?
        17· · · A.· ·That's correct.
        18· · · Q.· ·Okay.· So let me try to get more focus in my
        19· question just so that we're walking step by step
        20· together here.· Specifically, I'm looking for
        21· communications you've had with individuals, in this case
        22· your husband, about today's deposition itself.· So with
        23· respect to conversations with your husband about today's
        24· deposition and the allegations brought in your lawsuit,
        25· when is the last time you've talked with him about that
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        ·1· specific matter?
        ·2· · · A.· ·This morning.
        ·3· · · Q.· ·Okay.· And did you talk about allegations of
        ·4· your lawsuit this morning?
        ·5· · · A.· ·Yes.
        ·6· · · Q.· ·Okay.· Tell me what you talked about.
        ·7· · · A.· ·I went over things that were in the lawsuit and
        ·8· explained what happened.· And, you know, I'm not saying
        ·9· the details, but we talked about quite a few things.
        10· · · Q.· ·What is your husband's current status by way of
        11· his employment?
        12· · · A.· ·He's self-employed.
        13· · · Q.· ·What does he do?
        14· · · A.· ·A pool contractor.
        15· · · Q.· ·And how long has he operated that business?
        16· · · A.· ·Since 1998, I believe.· I'm not sure of the
        17· exact month, but we got married in '96, and a couple
        18· years later, we started a swimming pool business.
        19· · · Q.· ·Has he been fully employed and gainfully
        20· employed earning compensation from that business in the
        21· last several years?
        22· · · A.· ·The business has been up and down.
        23· · · Q.· ·So how long was your conversation this morning
        24· with your husband about the allegations in this lawsuit?
        25· · · A.· ·I'm not really sure, but around a half an hour
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        ·1· to an hour.
        ·2· · · Q.· ·Was anyone else part of the call other than you
        ·3· and your husband?
        ·4· · · A.· ·It wasn't a call.· It was face to face.
        ·5· · · Q.· ·Okay.· So was anyone else in the room when you
        ·6· had this discussion with your husband this morning?
        ·7· · · A.· ·No, sir.
        ·8· · · Q.· ·Did you review any documentation when you were
        ·9· having this discussion with your husband this morning?
        10· · · A.· ·I read over some of the lawsuit.
        11· · · Q.· ·The things that you already identified?
        12· · · A.· ·Yes.
        13· · · Q.· ·Okay.· And when is the last time you talked
        14· with -- it's my understanding you have two daughters,
        15· correct?
        16· · · A.· ·That's correct.
        17· · · Q.· ·Jami Najarro, is that how you say it?
        18· · · A.· ·Yes.
        19· · · Q.· ·So Jami Najarro --
        20· · · · · ·MR. STEFANY:· Jami is J-a-m-i, Michelle.
        21· BY MR. STEFANY:
        22· · · Q.· ·When did you last talk with Jami Najarro about
        23· the allegations in your lawsuit?
        24· · · A.· ·Earlier in the week.
        25· · · Q.· ·And did she call you or did you call her to
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        ·1· discuss the allegations in the lawsuit?
        ·2· · · A.· ·I don't recall.
        ·3· · · Q.· ·Did you talk about the substantive allegations
        ·4· in your lawsuit with this discussion with your daughter,
        ·5· Jami Najarro, earlier this week?
        ·6· · · A.· ·I don't really know what we talked about, but
        ·7· we did talk about the deposition and being nervous and
        ·8· that kind of stuff.· It wasn't really any particular
        ·9· conversation about the lawsuit that I can remember.
        10· · · Q.· ·Okay.· Your other daughter is named Julianna
        11· DiBenedetto-Wilson -- hyphen Wilson?
        12· · · A.· ·Yes.
        13· · · Q.· ·When is the last time you spoke with her about
        14· the allegations in your lawsuit?
        15· · · A.· ·At least two weeks ago or longer.
        16· · · Q.· ·Julianna DiBenedetto-Wilson currently resides
        17· in North Carolina; is that right?
        18· · · A.· ·Correct.
        19· · · Q.· ·And has she resided in North Carolina since you
        20· were employed at the LCSO?
        21· · · A.· ·She moved there about eight years ago.
        22· · · Q.· ·Okay.· Your daughter, Jami Najarro, is still
        23· employed by the LCSO, correct?
        24· · · A.· ·Correct.
        25· · · Q.· ·What does she do there?
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        ·1· · · A.· ·She's a sergeant for the SRO position, school
        ·2· resource officer.
        ·3· · · Q.· ·So other than talking with your attorney, your
        ·4· daughters, and your husband, have you talked with anyone
        ·5· else about your claims in this litigation since leaving
        ·6· your employment with the LCSO?
        ·7· · · A.· ·No.
        ·8· · · Q.· ·My understanding is that you currently reside
        ·9· in Lee County, correct?
        10· · · A.· ·That's correct.
        11· · · Q.· ·In Lehigh Acres specifically?
        12· · · A.· ·Yes.
        13· · · Q.· ·How long have you lived at that address?
        14· · · A.· ·Forty years.
        15· · · Q.· ·How many?
        16· · · A.· ·Forty.· Wait a minute.· I take that back.          I
        17· live in Lehigh for 40 years, but not at that residence.
        18· I was there for about 33 -- about 33 years, 33, 34.
        19· · · Q.· ·You currently live there with your husband,
        20· William Paul Clark, correct?
        21· · · A.· ·Correct.
        22· · · Q.· ·You said you all got married what year?
        23· · · A.· ·1996.
        24· · · Q.· ·Since 1996, has anyone else lived at your
        25· current Lehigh Acres address other than you and your
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        ·1· husband?
        ·2· · · A.· ·My kids.
        ·3· · · Q.· ·Pardon me?
        ·4· · · A.· ·My kids and his kids.
        ·5· · · Q.· ·My understanding is you were initially employed
        ·6· by the LCSO on June 5, 1992, correct?
        ·7· · · A.· ·Correct.
        ·8· · · Q.· ·And the last day that you worked for the LCSO
        ·9· was September 3, 2021; is that correct?
        10· · · A.· ·That was my last day of, you could say,
        11· employment.
        12· · · Q.· ·Let me add one other point since we've
        13· mentioned September 3, 2021.· I'm going to refer to that
        14· date as the separation date for purposes of this
        15· deposition.· So when I talk about separation date, that
        16· refers to September 3, 2021.· Okay?
        17· · · A.· ·Okay.
        18· · · Q.· ·So as of September 3, 2021, who had been your
        19· most immediate supervisor at the LCSO?
        20· · · A.· ·AnnMarie Reno.
        21· · · · · ·MR. STEFANY:· Michelle, for the record,
        22· · · AnnMarie is one word, A-n-n-M-a-r-i-e, and Reno is
        23· · · R-e-n-o.
        24· · · · · ·THE COURT REPORTER:· Thank you.
        25· BY MR. STEFANY:
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        ·1· · · Q.· ·So, Ms. Clark, how long had AnnMarie Reno been
        ·2· your immediate supervisor as of your separation date,
        ·3· approximately?
        ·4· · · A.· ·It was a little before 2018, I believe.
        ·5· · · Q.· ·Tell me what happened a little bit before 2018
        ·6· where there apparently was some sort of change in your
        ·7· immediate supervision?
        ·8· · · A.· ·Right.· She worked for, Bill Bergquist, and he
        ·9· was my supervisor at that time.· And then she replaced
        10· him.· She was his assistant, and then she later had his
        11· job, and he was transferred to another position.
        12· · · Q.· ·Do you remember what position Mr. Bergquist was
        13· transferred to at that time?
        14· · · A.· ·Special projects or something.· He was still a
        15· director, but he just didn't have anybody to direct.
        16· · · Q.· ·What was AnnMarie Reno's job position when she
        17· was your immediate supervisor, if you recall?
        18· · · A.· ·Her title was executive director of support
        19· services division.· It's been called a couple of
        20· different names, but I'm not sure what it's called now.
        21· But it was at one point called support services
        22· division.
        23· · · Q.· ·Let me show you -- or let me ask you to pull --
        24· · · · · ·MR. STEFANY:· Procedurally, Kyle, did you print
        25· · · out a copy of these exhibits that I sent you
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        ·1· · · earlier?
        ·2· · · · · ·MR. MACDONALD:· I did not, but I can do that
        ·3· · · certainly.· I can work on getting those printed if
        ·4· · · you would like.
        ·5· · · · · ·MR. STEFANY:· Well, I don't know if the witness
        ·6· · · is easily able to see the exhibits.· I can share my
        ·7· · · screen or you can print them out, whichever is
        ·8· · · easier.· I'm just trying to make it simple.
        ·9· · · · · ·MR. MACDONALD:· Yeah, we can try doing the --
        10· · · sharing your screen, but I can work on printing them
        11· · · in the interim, so if there's any issues, we'll have
        12· · · them.
        13· · · · · ·MR. STEFANY:· Why don't you get somebody to
        14· · · print them, and then when they're available, I'll
        15· · · just let her go through them as we're talking about
        16· · · the various exhibits.
        17· · · · · ·MR. MACDONALD:· Okay, you got it.
        18· · · · · ·MR. STEFANY:· Do we need to take a two-minute
        19· · · break to let you do that?
        20· · · · · ·MR. MACDONALD:· Yeah, that'll work.
        21· · · · · ·MR. STEFANY:· Let's just take a two-minute
        22· · · break real quick and let you get those.
        23· · · · · ·MR. MACDONALD:· Thank you.
        24· · · · · · · · · · · · · (Recess)
        25· BY MR. STEFANY:
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        ·1· · · Q.· ·So, Ms. Clark, while I show you what I have
        ·2· marked as Exhibit 1 to your deposition, do you have that
        ·3· in front of you or do you want me to put it on the
        ·4· screen?
        ·5· · · A.· ·I have it in front of me.
        ·6· · · · · ·MR. STEFANY:· Kyle, do you have access to see
        ·7· · · it?
        ·8· · · · · ·MR. MACDONALD:· Yes.· I can pull it up on my
        ·9· · · computer.
        10· · · · · ·MR. STEFANY:· Well, I can share it.· I'm not --
        11· · · I'm happy to share it, if needed.
        12· · · · · ·MR. MACDONALD:· I got it.· We're good.
        13· · · · · ·MR. STEFANY:· Okay.
        14· BY MR. STEFANY:
        15· · · Q.· ·Ms. Clark, do you recognize Exhibit 1?
        16· · · A.· ·I guess.· This is the disclosures.
        17· · · Q.· ·Yeah.
        18· · · A.· ·I haven't seen this before but...
        19· · · Q.· ·Well, let me just go through the process.· Do
        20· you recognize what's been marked as Exhibit 1?
        21· · · A.· ·Yes.
        22· · · · · ·MR. STEFANY:· Are you seeing this on my screen,
        23· · · Kyle?
        24· · · · · ·MR. MACDONALD:· Yes.
        25· · · · · ·MR. STEFANY:· Exhibit 1?
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        ·1· · · · · ·MR. MACDONALD:· Yep.
        ·2· BY MR. STEFANY:
        ·3· · · Q.· ·Let me just scroll down, and I'll talk to you
        ·4· as I'm looking at it myself.· So, Ms. Clark, I think you
        ·5· already offered, but I was going to say, you recognize
        ·6· this as your initial disclosures in this litigation?
        ·7· · · A.· ·Yes.
        ·8· · · Q.· ·And I think I heard you say you had not seen
        ·9· this before, which was going to be one of my questions.
        10· So is this the first time you've seen this document or
        11· did you see it back in January when it was submitted as
        12· part of your lawsuit?
        13· · · A.· ·Well, if I did, I don't recall.
        14· · · Q.· ·All right.· Let me just, for the sake of the
        15· record, let me identify it as Plaintiff's Initial
        16· Disclosures in this lawsuit which were served under date
        17· of January 19, 2023 to me as counsel of record for
        18· Sheriff Carmine Marceno.
        19· · · · · ·So let me just ask you a couple questions about
        20· this particular document.· Ms. Clark, the first part of
        21· the -- or one of the sections here of the document asks
        22· you to identify the name of any individual to have
        23· discoverable information that you may use to support
        24· your claims in this case, and you have identified
        25· specifically yourself, AnnMarie Reno, Dawn Heikkila,
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        ·1· Carmine Marceno, your husband and your two daughters?
        ·2· · · A.· ·Correct.
        ·3· · · Q.· ·Is that still the accurate list of people that
        ·4· you believe have discoverable information about your
        ·5· claims in this case?
        ·6· · · A.· ·Yes.
        ·7· · · Q.· ·So there's nobody else other than those that
        ·8· you already listed, right?
        ·9· · · A.· ·Correct.
        10· · · Q.· ·And prior to today's deposition, but after your
        11· separation date from the LCSO, have you had an
        12· opportunity to discuss anything about your case or your
        13· claims in this case with AnnMarie Reno?
        14· · · A.· ·No.
        15· · · Q.· ·Have you had, in the same temporal period, any
        16· opportunity to discuss anything about your claims in
        17· this case with Dawn Heikkila?
        18· · · A.· ·No.
        19· · · Q.· ·And have you had any opportunity to discuss the
        20· claims in your case with Sheriff Carmine Marceno?
        21· · · A.· ·No, sir.
        22· · · Q.· ·And then, Section III of your disclosures, you
        23· make reference to documentation that you may use to
        24· support your claims in this case, and I just direct you
        25· to the second bullet entry.· It says:· All discovery
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        ·1· which has or will be produced by plaintiff and defendant
        ·2· in this action including -- specifically subsection a,
        ·3· correspondence and emails between you, the plaintiff,
        ·4· and the defendant, and the defendant in this case is
        ·5· Sheriff Carmine Marceno.· So specifically, are you aware
        ·6· of any written communication or emails between you and
        ·7· Sheriff Carmine Marceno regarding your claims in this
        ·8· case?
        ·9· · · A.· ·No.
        10· · · Q.· ·Do you specifically have an understanding of
        11· what's referenced here by the statement of
        12· correspondence and emails between you and the defendant?
        13· · · A.· ·You just mean me contacting them?
        14· · · Q.· ·Yes, or them contacting you, whichever
        15· direction the correspondence or emails went.
        16· · · A.· ·But not through my attorney, correct?
        17· · · Q.· ·Correct.
        18· · · A.· ·Okay, yes.· I understand.
        19· · · Q.· ·So are you aware of any of the specific
        20· documents that you're referring to there?
        21· · · A.· ·Can you rephrase that or just -- I'm not sure
        22· what you're asking me.
        23· · · Q.· ·Well, I'm just trying to get clarification of
        24· what you're stating in your initial disclosures when
        25· you're making reference to correspondence and emails
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        ·1· between you -- and it says:· To defendant.· So in
        ·2· referring to that statement in your disclosures, can you
        ·3· identify any correspondence or emails that you're
        ·4· referring to?
        ·5· · · A.· ·No.
        ·6· · · Q.· ·Okay.
        ·7· · · A.· ·I'm still confused on what you're asking me
        ·8· though.
        ·9· · · Q.· ·Let me turn your attention to subparagraph F of
        10· that same section of your disclosures.· There's a
        11· reference made to comparator evidence and records of
        12· comparator employees.
        13· · · · · ·Do you have any information about what those
        14· records are?
        15· · · A.· ·That, how I understand it, is the job
        16· description that was supplied from the LCSO under the
        17· EEOC claim.
        18· · · Q.· ·Okay.· So job description supplied by the LCSO
        19· in response to your charge of discrimination?
        20· · · A.· ·Correct.
        21· · · Q.· ·Anything else?
        22· · · A.· ·Well, all of that basically would be supplied
        23· in the EEOC claim.
        24· · · Q.· ·Okay.· The final section of your initial
        25· disclosures from January 19, 2023 is the section on
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        ·1· damages.· You assert your lost wages to be a claim in
        ·2· the amount of ten times your annual salary as of the
        ·3· date --
        ·4· · · A.· ·Any damages, you can just consult with my
        ·5· attorney.
        ·6· · · Q.· ·Well, I certainly will take that under
        ·7· advisement.· I appreciate that.· But with respect to
        ·8· your assertion of damages of lost wages in the amount of
        ·9· ten times your annual salary at the date of your
        10· termination, is that still the damages claim that you
        11· are asserting for lost wages in this litigation, or has
        12· it changed?
        13· · · · · ·MR. MACDONALD:· I'm going to object to the
        14· · · form.
        15· · · · · ·You can answer.
        16· BY MR. STEFANY:
        17· · · A.· ·I don't know.
        18· · · Q.· ·The emotional distress damages that you assert
        19· as stated in Section 4 of your initial disclosures is in
        20· the amount of $2 million.
        21· · · · · ·Do you see that?
        22· · · A.· ·Yes.
        23· · · Q.· ·Is that still your emotional damages claim in
        24· this case?
        25· · · · · ·MR. MACDONALD:· Objection; form.
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        ·1· BY MR. STEFANY:
        ·2· · · A.· ·I don't know.
        ·3· · · Q.· ·Let me focus your attention to the relevant
        ·4· period of time, say beginning of 2018 through the
        ·5· separation date -- your separation date with the LCSO.
        ·6· During that period of time, did you become aware that
        ·7· the agency was making decisions about reorganization of
        ·8· its operations and staff?
        ·9· · · A.· ·Yes, in 2018.
        10· · · Q.· ·How did you become aware of that?
        11· · · A.· ·It was a lot of people that were let go or
        12· allowed to apply for other positions within the agency.
        13· · · Q.· ·Do you recall how you first learned that that
        14· was happening sometime in the 2018 through 2021 time
        15· frame?
        16· · · A.· ·The people were notified -- how should I say
        17· it?· They couldn't get in the building or their
        18· computers and were told to see Dawn, which was, at that
        19· time, the HR director.· And they were given a letter
        20· along with a package stating that they were -- which
        21· included to be -- to apply for another position or
        22· retire.· And they got a package and a severance plan.
        23· · · Q.· ·So is this something that you personally
        24· observed by seeing the communications to the individuals
        25· affected or is this something that you heard about from
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        ·1· others?
        ·2· · · A.· ·Both.
        ·3· · · Q.· ·Okay.· And what is your recollection of the
        ·4· circumstances for the reorganizations and the staffing
        ·5· changes that you're making reference to, if you have an
        ·6· understanding of why it was done?
        ·7· · · A.· ·Well, positions were reinstated for the people
        ·8· that ended up being let go that didn't apply for another
        ·9· position, and I don't know if -- why they did it.· That
        10· was the question?
        11· · · Q.· ·Yes.· So are these reorganizations and staffing
        12· changes that you're referring to, did they occur in 2018
        13· or in 2019 or in both years, if you know?
        14· · · A.· ·I'm not sure which year.· One or the other.
        15· · · Q.· ·Okay.· At the time this -- these
        16· reorganizations that you're referring to and staffing
        17· changes you're referring to came about, Sheriff Marceno
        18· was the sheriff of the LCSO?
        19· · · A.· ·That's correct.
        20· · · Q.· ·All right.· Let me show you what we've marked
        21· as Exhibit 2, if you've got that in front of you.· I can
        22· share my screen if you need me to.· Just tell me which
        23· you prefer.
        24· · · A.· ·I can see it.
        25· · · Q.· ·So do you recognize this document?
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        ·1· · · A.· ·Yes.
        ·2· · · Q.· ·Have you seen it before?
        ·3· · · A.· ·Obviously.· It says:· All Users.· So I'm sure I
        ·4· did at the time that it was put out.· I just didn't
        ·5· remember it.
        ·6· · · Q.· ·So this is -- for the record, this is an email
        ·7· dated June 21, 2019 from Dawn Heikkila to All Users at
        ·8· the LCSO.· The subject is regarding recent developments,
        ·9· and it's addressed to all LCSO employees.· So if I could
        10· get you to turn down to the third paragraph of this,
        11· take a minute just to refresh your memory and read that
        12· paragraph silently to yourself and tell me when you're
        13· done.
        14· · · A.· ·Okay.
        15· · · Q.· ·So this paragraph that I've just asked you to
        16· specifically review makes reference to 22 civilian
        17· positions with duties that could be transferred
        18· elsewhere in the agency when the member in the position
        19· retired or transferred.· It goes on to say 17 of these
        20· empty positions were eliminated.
        21· · · · · ·With respect to those referenced positions, did
        22· any of those positions impact the purchasing department
        23· that you were the director of at the time?
        24· · · A.· ·No.
        25· · · Q.· ·What role, if any, did you have in analyzing
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        ·1· the civilian positions referenced in this particular
        ·2· paragraph of the email, if any?
        ·3· · · A.· ·What position did I have at analyzing?
        ·4· · · Q.· ·Yeah.· Were you involved in any way in
        ·5· analyzing positions as part of this reorganization?
        ·6· · · A.· ·No.· I didn't know about it until it happened.
        ·7· · · Q.· ·All right.· All right.· Do you have any
        ·8· recollection in 2019 when you received this email of
        ·9· communicating with anyone at the LCSO about these
        10· decisions or about the process used?
        11· · · A.· ·No.
        12· · · Q.· ·In less than a year after this particular email
        13· was sent out to all LCSO employees, the COVID pandemic
        14· became a factor in most people's lives.· What
        15· recollection do you have of how the COVID pandemic
        16· impacted the LCSO, and particularly the purchasing
        17· department, if at all?
        18· · · A.· ·Well, we were classified as essential, so we
        19· basically didn't have anything to do with like staying
        20· home, all that.· We weren't allowed to stay home.· But
        21· as far as having to buy our supplies, we were definitely
        22· impacted because it was a lot of work to keep everybody
        23· safe.· It was a new challenge for my department and
        24· keeping everybody -- especially all of the deputies --
        25· everybody safe with all of the supplies that I had to
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        ·1· buy for them.
        ·2· · · Q.· ·Okay.· I don't know if you have it in front of
        ·3· you, but do you have Exhibit 19 in your stack of
        ·4· material yet?
        ·5· · · · · ·MR. MACDONALD:· She does not yet, but I can see
        ·6· · · if it's ready if you would like me to.
        ·7· · · · · ·MR. STEFANY:· I'll just show it on the screen.
        ·8· · · · · ·MR. MACDONALD:· Okay.
        ·9· BY MR. STEFANY:
        10· · · Q.· ·Ms. Clark, I'll back up just a little bit on my
        11· screen and show you what's been tabbed as Exhibit 19 to
        12· your deposition today.· I'm just going to show it on the
        13· screen.· Can you see this all right?
        14· · · · · ·MR. MACDONALD:· We don't see it yet.
        15· BY MR. STEFANY:
        16· · · Q.· ·Can you see it now?
        17· · · A.· ·Yes.
        18· · · Q.· ·Take a second to review this, then I'll ask you
        19· questions once you've had a chance to look at it.
        20· · · A.· ·Okay.
        21· · · Q.· ·Let me scroll so you can see the rest of it.
        22· It's pretty short on the next page.
        23· · · A.· ·Okay.
        24· · · Q.· ·Have you seen this before?
        25· · · A.· ·A long time ago, it's a possibility, but I
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        ·1· don't -- I remember around this time, but if my name was
        ·2· on there, then I would have said yes, but it's blacked
        ·3· out, then I don't know.· I don't --
        ·4· · · Q.· ·I think for the record, the only thing blacked
        ·5· out are the actual email addresses of the individuals
        ·6· listed, and I don't see your name.
        ·7· · · A.· ·That means I wasn't on the -- no.
        ·8· · · Q.· ·I can see that your name is not on it.
        ·9· · · A.· ·Correct.
        10· · · Q.· ·For the record, let me identify that this is an
        11· email from Chief John Holloway at the Legal Services
        12· Executive Bureau to a number of individuals that are
        13· identified as command staff concerning generally
        14· information regarding the LCSO budget with the
        15· discussion points being COVID.· Let me just scroll down
        16· to the -- towards the end of this.· And if I didn't say
        17· the date, the date of this email is April 3, 2020.· So
        18· since it doesn't appear on its surface or on its face
        19· that you received this specific email, Ms. Clark, I just
        20· want to identify a couple things on here.· Towards the
        21· bottom of this email, I begin where it says:· To protect
        22· our employees and assure LCSO is able to continue to
        23· provide the highest quality law enforcement services
        24· possible, we are immediately taking the following
        25· actions.
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        ·1· · · · · ·There's a couple of things that I wanted to
        ·2· highlight to you.· Paragraph 2, it says:· Removing funds
        ·3· from budget lines and reallocating those funds towards
        ·4· expenses and purchases which will reduce future costs.
        ·5· · · · · ·Do you recall being given any of those types of
        ·6· instructions from either Mr. Bergquist or from AnnMarie
        ·7· Reno in 2020?
        ·8· · · A.· ·No.
        ·9· · · Q.· ·Paragraph 3 of this document or of that
        10· subparagraph says:· Freezing all significant purchases
        11· except those purchases specifically approved by the
        12· Support Services Executive Bureau.
        13· · · · · ·Do you recall anything about a -- essentially a
        14· spending freeze on -- on -- or limitations on purchasing
        15· that took place in or about April of 2020?
        16· · · A.· ·I don't recall at this time.· I would have to
        17· really go back and think about a lot of that stuff, but
        18· I can't recall because we spent a lot of money on
        19· supplies, a lot, when COVID hit.
        20· · · Q.· ·So Item 4 is:· Collecting most agency credit
        21· cards to avoid confusion and assure Purchasing and
        22· Finance maintain a tight grip on spending.
        23· · · · · ·Was -- do you recall being given any
        24· instruction or direction from either Mr. Bergquist or
        25· AnnMarie Reno about keeping a tight grip on spending on
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        ·1· or about April of 2020?
        ·2· · · A.· ·That could have happened, but I don't recall
        ·3· because at the end of the fiscal year, it could happen.
        ·4· And I don't know if it might have happened around this
        ·5· time.· It's a possibility, but I don't know -- I don't
        ·6· know for sure.· I don't really remember.
        ·7· · · Q.· ·Okay.· So as you do remember sort of the
        ·8· timeframe of April 2020 on and the COVID-19 pandemic's
        ·9· impact, with respect to the purchasing department
        10· itself, is it true that your recollection is that you
        11· guys were required to spend a significant amount of
        12· resources on COVID-related materials or other things to
        13· help keep the agency's employees safe?
        14· · · A.· ·Yes.· But it really wasn't the budget that it
        15· came from because we had several grants that we were
        16· spending that money.· That was like a five-year grant
        17· and maybe a three-year grant, so we were spending, and
        18· that's where most of the supplies probably came from.
        19· · · Q.· ·Okay.· And when we talked earlier concerning
        20· your awareness of some reorganizational decisions and
        21· some staffing changes there at the LCSO beginning at
        22· least in 2019 as shown by the earlier exhibit, did you
        23· have an understanding of whether the assessment of the
        24· organization and staffing changes was continuing during
        25· the pandemic years in 2020 and 2021?
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        ·1· · · A.· ·Continuing as far as letting people go or not?
        ·2· · · Q.· ·Just the assessment of the organization and the
        ·3· possible reorganization and additional staffing changes.
        ·4· Were you aware in either 2020 or 2021 that that was
        ·5· still an ongoing consideration or analysis that was
        ·6· being conducted?
        ·7· · · A.· ·No.
        ·8· · · Q.· ·And during the period -- if you recall, during
        ·9· the period of 2019 through 2021 until the time you were
        10· notified of the elimination of your position, were there
        11· any personnel changes in the purchasing department that
        12· you recall?
        13· · · A.· ·My section was the same.
        14· · · Q.· ·Okay.· So in this period of time -- let's just
        15· again use the general time frame of January 1, 2018
        16· through the separation date -- from -- from your
        17· separation date with the LCSO, what -- what -- my
        18· understanding is you used a couple of different email
        19· addresses, and let me just go over those.· Your email
        20· address at the sheriff's office was
        21· jclark@sheriffleefl.org, correct?
        22· · · A.· ·Correct.
        23· · · Q.· ·And did your use of that work email address
        24· cease as of the date of your separation or separation
        25· date?
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        ·1· · · A.· ·Yes, as far as I know.· I don't know what they
        ·2· did over there.
        ·3· · · Q.· ·You didn't use it any further?
        ·4· · · A.· ·No, not to my knowledge.· I did one time, was
        ·5· writing an email, and that email came up.· And I hope I
        ·6· didn't send something to that by mistake, but it was not
        ·7· intentional if I did send something from my personal
        ·8· email to that one.
        ·9· · · Q.· ·All right.· And, again, during the time frame
        10· of January 1, 2018 through the separation date, your
        11· personal email was jennaclark1962@gmail.com?
        12· · · A.· ·Yes, and Yahoo.· I didn't use that one though.
        13· · · Q.· ·What was the yahoo address?
        14· · · A.· ·The same thing.
        15· · · Q.· ·jennaclark1962@yahoo?
        16· · · A.· ·Correct.
        17· · · Q.· ·.com?
        18· · · A.· ·Yes.
        19· · · Q.· ·And you say you didn't use that yahoo.com
        20· address much?
        21· · · A.· ·I said I -- I couldn't remember the password.
        22· · · Q.· ·I can relate.· I forget my passwords all the
        23· time.· All right.
        24· · · · · ·Have you -- during the period of January --
        25· January 1, 2018 through the separation date of your
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        ·1· employment with the LCSO, were you able to use an
        ·2· agency-issued cell phone?
        ·3· · · A.· ·Yes.
        ·4· · · Q.· ·And was that cell phone number (239) 950-0188
        ·5· [sic]?
        ·6· · · A.· ·Nope.
        ·7· · · Q.· ·No?
        ·8· · · A.· ·You said the number wrong.
        ·9· · · Q.· ·I'm sorry.· What was that number?
        10· · · A.· ·(239) 850-0188.
        11· · · Q.· ·Did your use of that agency phone cease as of
        12· your separation date with the LCSO?
        13· · · A.· ·Correct.
        14· · · Q.· ·And in addition to the agency-issued phone that
        15· you used during the period just discussed, did you also
        16· have your own personal cell phone?
        17· · · A.· ·Yes.
        18· · · Q.· ·Let me try numbers again.· Was that number
        19· (239) 313-3578?
        20· · · A.· ·Yes.
        21· · · Q.· ·Is that still your personal cell phone number?
        22· · · A.· ·Yes.
        23· · · Q.· ·My understanding is that your separation from
        24· employment with the LCSO was predicated on your decision
        25· to retire with the FRS as of September 3, 2021; is that
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        ·1· right?
        ·2· · · A.· ·Yes.
        ·3· · · Q.· ·Although I'll get to it later, my understanding
        ·4· is you've done a little bit of work with some
        ·5· residential painting since your retirement with the
        ·6· LCSO; is that right?
        ·7· · · A.· ·Yes.
        ·8· · · Q.· ·Other than that work with residential painting,
        ·9· have you had any earned compensation from any
        10· employer --
        11· · · A.· ·No.
        12· · · Q.· ·-- other than whoever the residential painting
        13· contractor is?
        14· · · A.· ·Uh-huh.
        15· · · Q.· ·No other income?
        16· · · A.· ·No, sir.
        17· · · Q.· ·Ms. Clark, can I just get you to briefly
        18· describe what formal educational background you have?
        19· · · A.· ·Some college.· I had the required classes while
        20· at the sheriff's office for management and business
        21· administration, but I did not have a -- I did not have a
        22· college degree.
        23· · · Q.· ·Where did you do your studies in college to the
        24· extent you had classes in college?
        25· · · A.· ·Accounting.
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        ·1· · · Q.· ·I said where.
        ·2· · · A.· ·Oh.· Edison Community College in Fort Myers and
        ·3· FGCU also in Fort Myers.
        ·4· · · Q.· ·FGCU is Florida Gulf Coast University?
        ·5· · · A.· ·Yes, sir.
        ·6· · · Q.· ·And do you recall when you last had
        ·7· college-related class work that you took, what year?
        ·8· · · A.· ·I don't recall.
        ·9· · · Q.· ·So I'm certainly aware that you were employed
        10· for quite a number of years with the LCSO, so I would
        11· like to focus the next set of questions with you on the
        12· specific period of your employment during August of 2021
        13· and early September of 2021.· Okay?
        14· · · A.· ·Okay.
        15· · · Q.· ·So my understanding that at least as of August
        16· of 2021, your typical work schedule was to work four
        17· 10-hour shifts a week?
        18· · · A.· ·Correct.
        19· · · Q.· ·As purchasing director for the LCSO?
        20· · · A.· ·Yes.
        21· · · Q.· ·That meant your normal schedule was working
        22· Monday through Friday?
        23· · · A.· ·Correct.
        24· · · Q.· ·Do you have any recollection of how long that
        25· schedule had been in place as of August 2021, that work
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        ·1· schedule?
        ·2· · · A.· ·I don't recall.
        ·3· · · Q.· ·In August of 2021, Shannon Lehman was the
        ·4· manager of purchasing?
        ·5· · · A.· ·Correct.
        ·6· · · Q.· ·You were her immediate supervisor?
        ·7· · · A.· ·Correct.
        ·8· · · Q.· ·And as of August of 2021, did you supervise
        ·9· anyone directly other than Shannon Lehman?
        10· · · A.· ·I supervised the whole group, but she also --
        11· it was a team that we had.
        12· · · Q.· ·When you say "whole group," are you referring
        13· to the purchasing agents that were employed in the
        14· purchasing department?
        15· · · A.· ·That's correct.
        16· · · Q.· ·As of August of 2021, who was responsible for
        17· performing annual evaluations for the purchasing agents
        18· at the LCSO?
        19· · · A.· ·That was Shannon, but I always reviewed or sat
        20· in.· Not every single one, but some.· Most, some.          I
        21· don't know.
        22· · · Q.· ·Other than you and Shannon and the various
        23· purchasing agents employed as of August of 2021, were
        24· there any other job titles of individuals working in the
        25· purchasing department?
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        ·1· · · A.· ·We only had volunteers that would help out, and
        ·2· those were random people from the VOICE unit.
        ·3· · · Q.· ·How many volunteers would help out?
        ·4· · · A.· ·Just depended on what we had going on.· A lot
        ·5· of times, they would do errands, so they would pick up
        ·6· stuff from us and drop it off at a vendor or take
        ·7· something to the other locations of LCSO district or the
        ·8· corrections facility, and sometimes help discard
        ·9· uniforms or -- I'm trying to think what else they did.
        10· Like they would have stuffed like packets of domestic
        11· violence, for example, brochures, and then distribute.
        12· · · Q.· ·And what was the process if -- assuming there
        13· was a process, what was the process for getting
        14· assistance from volunteers into the purchasing
        15· department during 2021, just to pick a time frame while
        16· you were there?· Is it something that you would initiate
        17· or somebody would call and ask if you needed any help?
        18· How would that work?
        19· · · A.· ·It would be one of the girls, if they needed
        20· help with something or something picked up, they would
        21· contact usually the VOICE secretary, or if they had
        22· their cell phone, another VOICE person's cell phone, but
        23· not call them direct, but probably mostly everything was
        24· a schedule from the secretary or whoever was operating
        25· the office in the VOICE unit.
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        ·1· · · Q.· ·When you say one of the girls would contact,
        ·2· are you referring to Shannon and the purchasing agents
        ·3· or --
        ·4· · · A.· ·That's correct, yes.
        ·5· · · Q.· ·Getting back to a focus on August of 2021,
        ·6· Ms. Clark, my understanding that at some point in August
        ·7· of 2021, you notified AnnMarie Reno that you needed to
        ·8· take a leave of absence for a personal health condition;
        ·9· is that right?
        10· · · A.· ·Yes, but I think it was July when I requested
        11· the time off.
        12· · · Q.· ·So you think you talked with Ms. Reno in July
        13· of 2021 about the need for time off in August?
        14· · · A.· ·Well, it's a request.· When we needed time off,
        15· you put in for vacation.· The system that they had, we
        16· went in and then we requested it.· Normally, I would
        17· call her or tell her about it if we had something
        18· planned.· I talked to her almost on a daily basis
        19· usually anyway, so she knew a lot that was going on in
        20· our area.
        21· · · Q.· ·So the communication that you had with AnnMarie
        22· Reno in July of 2021 about your need to take some time
        23· off for a medical matter, that was a communication you
        24· had face to face with her?
        25· · · A.· ·Like I said, I put the request in, and she had
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        ·1· to approve it on her computer so I could -- so it could
        ·2· be -- the approval had to be for the scheduling.
        ·3· · · Q.· ·And in submitting that request to AnnMarie
        ·4· Reno, what was her response to your request question?
        ·5· · · A.· ·She approved it.
        ·6· · · Q.· ·Okay.· And did you communicate to anyone else
        ·7· at the LCSO about your need to take that leave?
        ·8· · · A.· ·Yes.
        ·9· · · Q.· ·Who?
        10· · · A.· ·My staff and also Dawn Heikkila.
        11· · · Q.· ·So in communicating to the staff, did you just
        12· tell them face to face that you were going to be taking
        13· that leave?
        14· · · A.· ·Yes.
        15· · · Q.· ·And in talking and communicating with Dawn
        16· Heikkila regarding that leave, did you speak with her
        17· face to face or via email, if you recall?
        18· · · A.· ·It was both, but talking about my surgery was
        19· prior to that -- prior to the approval, prior before I
        20· had it scheduled as a friend.· And later on the 12th, I
        21· emailed Dawn and told her that AnnMarie told me -- she
        22· notified her about FMLA, that I would probably need
        23· that, and she said:· Okay.· I don't have time right now,
        24· but if you need time, then I will get you the paperwork.
        25· · · Q.· ·Okay.· And just for clarity, you said earlier
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        ·1· you had a communication with someone as a friend.· Is
        ·2· this someone you are referring to AnnMarie or Dawn?
        ·3· · · A.· ·Dawn.
        ·4· · · Q.· ·Okay.
        ·5· · · A.· ·But it could have been six months, eight months
        ·6· prior to.
        ·7· · · Q.· ·Okay.· So just again to make sure I'm clear on
        ·8· what you're saying, your testimony is that prior to
        ·9· asking or requesting an approved leave of absence from
        10· AnnMarie Reno, you had talked with Dawn about the need
        11· for surgery; is that what you're saying?
        12· · · A.· ·Yes.
        13· · · Q.· ·Okay.· Do you have Exhibit 18 in front of you?
        14· Please review Exhibit 18 and tell me when you're done
        15· looking at it.
        16· · · A.· ·I'm done.
        17· · · Q.· ·Do you recognize these -- this document?
        18· · · A.· ·Yes.
        19· · · Q.· ·So for the record, I'll just identify it as a
        20· series of emails between -- appears to be between you
        21· and Dawn Heikkila on August 12, 2021 concerning your
        22· leave of absence in August of 2021; is that right?
        23· · · A.· ·That's right.
        24· · · Q.· ·If I go from the bottom of Exhibit 18 and kind
        25· of scroll up from there, it looks like 12:26 p.m., you
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        ·1· emailed Dawn Heikkila, and you're telling her:· I called
        ·2· you to let you know I have surgery scheduled on the
        ·3· 18th.· AnnMarie said to let you know, she already
        ·4· approved my time; is that right?
        ·5· · · A.· ·That's correct.
        ·6· · · Q.· ·So the emails that follow that communication as
        ·7· I'm reading this is Dawn Heikkila says, okay, if you're
        ·8· out more than a week, I will forward it to Amy for FMLA.
        ·9· Do you know how long you plan to be out?
        10· · · · · ·And you respond about 1:06 p.m., looks like 18
        11· to 20, 24 to 27, total of seven days.
        12· · · · · ·Is that right?
        13· · · A.· ·Correct.
        14· · · Q.· ·And then as I think you commented earlier, Dawn
        15· responds to you, okay, well, we are so busy right now
        16· that I'm going to hold off on the FMLA.· If you end up
        17· needing more time than that, just let me know and I will
        18· have to do the FMLA paperwork.· Thanks, and I wish you a
        19· speedy recovery.
        20· · · · · ·Correct?
        21· · · A.· ·Correct.
        22· · · Q.· ·And basically you respond thank you to that
        23· email; is that right?
        24· · · A.· ·Yes.· As you can see, it says it in the email
        25· that we talked about that, but she never gave me any
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        ·1· FMLA paperwork to start with anything.
        ·2· · · Q.· ·So my understanding from the records your
        ·3· attorney has provided is surgery took place on the East
        ·4· Coast of Florida, correct?
        ·5· · · A.· ·Correct.
        ·6· · · Q.· ·And the time sheet, as I recall reviewing
        ·7· pertaining to your employment in August of 2021,
        ·8· reflects that you left your scheduled work three hours
        ·9· early on August 17.· Was that related to going over to
        10· the East Coast for the surgery?
        11· · · A.· ·That's correct.
        12· · · Q.· ·And prior to starting that or traveling over to
        13· the East Coast for the surgery, it was your intention
        14· and expectation that you would be out or away from
        15· scheduled work for seven days; is that right?
        16· · · A.· ·That's what I put in for.
        17· · · Q.· ·And at the time you commenced the leave of
        18· absence that AnnMarie Reno had approved in August of
        19· 2021, did you have an understanding of what type of
        20· leave had been approved for you?
        21· · · A.· ·The leave was sick.· She changed it to leave
        22· with pay, admin leave.· I put in -- because you can't
        23· put in admin leave.· We can't put that in.· You can only
        24· put in sick or vacation or personal.
        25· · · Q.· ·All right.· So you thought it was sick leave or
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        ·1· you understood it was going to be sick leave, and that
        ·2· was something you put in the system yourself?
        ·3· · · A.· ·That's the request.· The request was put in in
        ·4· July, and I requested sick time for those days that are
        ·5· listed.· She approved them.· She changed them --
        ·6· · · Q.· ·Okay.· So in putting the request for sick
        ·7· leave, that was so that you would be paid or compensated
        ·8· for the absences that you needed for the surgery and the
        ·9· recovery, correct?
        10· · · A.· ·Because that was sick time.
        11· · · Q.· ·So I think you've already started to explain,
        12· but at some point, you learned that the sick leave which
        13· had been approved had been changed to administrative
        14· leave with pay, correct?
        15· · · A.· ·That's correct.
        16· · · Q.· ·And who is it that you understand changed your
        17· request to use sick leave to administrative leave with
        18· pay?
        19· · · A.· ·AnnMarie.
        20· · · Q.· ·Did you ever discuss that with her?
        21· · · A.· ·I tried.
        22· · · Q.· ·When did you try to discuss that with her?
        23· · · A.· ·On August 21, 2021.
        24· · · Q.· ·And is that as a part of a product of a
        25· discussion you guys had on the phone that day?
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        ·1· · · A.· ·How it started, she told me -- she texted me
        ·2· and told me to call her, she needed to talk to me.
        ·3· · · Q.· ·Okay.
        ·4· · · A.· ·I called her on Friday, if that's the day.           I
        ·5· could be a day off.
        ·6· · · Q.· ·Well, let me stop you there.· August 21, 2021
        ·7· was a Saturday.
        ·8· · · A.· ·She didn't call me back until Saturday.          I
        ·9· called her the day before, and then I told her she could
        10· call me on my personal cell phone.· She called me back
        11· on Saturday because I did respond to her text.· When she
        12· called me, the question -- she said that my position has
        13· been eliminated due to reorganizing.· I said:· AnnMarie,
        14· I only have nine months.· What is going on?· What did I
        15· do?· Am I NIA?· I didn't notice that my time was changed
        16· before because I asked her about it.· I see my time was
        17· changed from sick time to admin leave.· She repeated:
        18· Your job has been eliminated due to reorganizing.
        19· Contact Dawn on Monday.
        20· · · Q.· ·Okay.· Was anything else discussed during that
        21· conference with AnnMarie on the 21st?
        22· · · A.· ·She said that she wanted to tell me over the
        23· phone instead of getting the letter and finding out
        24· without her telling me.
        25· · · Q.· ·Okay.· What did you say, if anything, in
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        ·1· response to that?
        ·2· · · A.· ·I just didn't understand why, what happened,
        ·3· what was going on.· And she just repeated.· She repeated
        ·4· it twice.
        ·5· · · Q.· ·And was anything else said that you haven't
        ·6· already talked about with respect to that call with
        ·7· AnnMarie Reno?
        ·8· · · A.· ·Not that I recall.
        ·9· · · Q.· ·So it sounds like the communication or the call
        10· was relatively short, a couple minutes?
        11· · · A.· ·Yes.· She told me how upset she was.· Her voice
        12· was quivering.· She said she just got through with going
        13· to an officer's funeral that had died from COVID.
        14· · · Q.· ·Okay.· And you started to say her voice was
        15· quivering during this call that she had with you?
        16· · · A.· ·Yes.· But that's what she said, but I know that
        17· didn't upset her.· In my opinion, I felt she was just
        18· nervous to tell me that my job was eliminated.
        19· · · Q.· ·And did you ask her during this conversation --
        20· as brief as it was, did you ask her why your job was
        21· eliminated?
        22· · · A.· ·Of course.
        23· · · Q.· ·And what did she say?
        24· · · A.· ·She repeated:· You need to contact -- or didn't
        25· repeat that part, but she said:· Your job is -- due to
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        ·1· reorganizing, she just said, contact Dawn.· She wouldn't
        ·2· answer any of my questions.
        ·3· · · Q.· ·All right.· And so did you have the opportunity
        ·4· to talk with AnnMarie Reno any time after that call?
        ·5· · · A.· ·No.
        ·6· · · Q.· ·So that's the last time you talked with her?
        ·7· · · A.· ·Yep, because I said to her, I said:· I'm out
        ·8· sick.· I said, I mean, how cruel it is to terminate
        ·9· somebody on sick leave.· She never looked at me.· I went
        10· into the office later on, but I called Dawn like I was
        11· supposed to on Monday.
        12· · · Q.· ·All right.· So let me jump ahead then.· So on
        13· Monday, which would have been, I think, if I have it
        14· correctly, August 23rd?
        15· · · A.· ·Yes.
        16· · · Q.· ·You contacted Dawn Heikkila, as AnnMarie Reno
        17· had suggested that you do, and the contact was via
        18· phone; is that right?
        19· · · A.· ·That's correct.
        20· · · Q.· ·And how long did the phone conference take with
        21· Dawn Heikkila on August 23rd approximately, if you
        22· remember?
        23· · · A.· ·Forty minutes.
        24· · · Q.· ·And what was -- what was -- generally, do you
        25· recall what was discussed during that 40-minute
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        ·1· conference with Dawn on August 23rd?
        ·2· · · A.· ·Yes.· I called her and told her that AnnMarie
        ·3· told me to call her and to find out what I was supposed
        ·4· -- let me back up.
        ·5· · · · · ·The other group that was, due to reorganizing,
        ·6· were laid off, they had the opportunity in their packet
        ·7· to apply for other positions.· Okay?· That was in there.
        ·8· That was in their --
        ·9· · · Q.· ·When you're referring to the other group, what
        10· group are you referring to?
        11· · · A.· ·The other group in 2018, '19 that you saw the
        12· letter that you showed me that these people were -- all
        13· of these things happened, some people left, some people
        14· stayed, they eliminated 17 positions.
        15· · · Q.· ·Okay.
        16· · · A.· ·That letter.
        17· · · Q.· ·Okay.
        18· · · A.· ·Those people were given a packet for the VOICE,
        19· join in the volunteer group, and also an opportunity to
        20· apply for another position.· Okay?· So I figured that's
        21· happened to me, I'm going to go ahead -- I had nine
        22· months to go.· I'm going to go ahead and look up what
        23· jobs are available on the website.· So when I called
        24· Dawn, I already knew what was available.
        25· · · Q.· ·All right.· Let me stop you there for a second.
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        ·1· So as I understand it, there was a website address where
        ·2· you could go and look up current posted openings at the
        ·3· LCSO as of any particular date and see what was
        ·4· available in case you had an interest in applying for an
        ·5· open position, correct?
        ·6· · · A.· ·It was a public website where anybody can go.
        ·7· You don't have to be an employee to apply there.
        ·8· · · Q.· ·Right.· So let me ask you to -- can you pull
        ·9· out Exhibit 3 that you should have in front of you?
        10· · · A.· ·I can't read it.
        11· · · Q.· ·I may be able to show it to you and enlarge it.
        12· Hold on.
        13· · · A.· ·Yeah, I can't read it.
        14· · · Q.· ·Let me show you it a bit enlarged, which
        15· hopefully will help.· Bear with me while I move it
        16· around.· All right.· Can you see this document?· It's
        17· just enlarged from what should be in front of you.
        18· · · A.· ·Yes.
        19· · · Q.· ·Are you able to read my screen?
        20· · · A.· ·Yes.
        21· · · Q.· ·So my first question is:· Does the format of
        22· this particular document and the information shown in
        23· any way look familiar to you?
        24· · · A.· ·Nope.
        25· · · Q.· ·My understanding of this particular document is
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        ·1· it's sort of a screenshot of available openings at the
        ·2· Lee County Sheriff's Office as of August 15, 2021 as
        ·3· shown in its publicly accessible website for such
        ·4· openings.
        ·5· · · A.· ·Okay.
        ·6· · · Q.· ·So let me just direct your attention, because I
        ·7· can scroll down to the second line of this particular
        ·8· Exhibit 3.· It says:· From February 15 -- and you look
        ·9· over right, it says:· Communications call taker.
        10· · · · · ·Do you recall if that was a position that was
        11· an available opening at the LCSO at or about the time
        12· you were speaking with Dawn Heikkila on August 23rd?
        13· · · A.· ·Yes.
        14· · · Q.· ·The next line -- well, before I go -- it may be
        15· more efficient to ask this:· As of August 23 up through
        16· the time of your separation date, did you have any
        17· interest in applying for the position of communications
        18· call taker as shown here?
        19· · · A.· ·Before August 23rd?
        20· · · Q.· ·Prior to September 3, 2021, which was your
        21· separation date, prior to that, did you have any
        22· interest in transferring or applying to a position as
        23· communications call taker in lieu of retiring?
        24· · · A.· ·I was not given the option to apply.
        25· · · Q.· ·Are you saying someone prevented you from
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        ·1· applying?
        ·2· · · A.· ·Correct.
        ·3· · · Q.· ·Who is that?
        ·4· · · A.· ·That was in the letter, but I never received
        ·5· the letter until the 23rd, the day I talked to Dawn.           I
        ·6· think she emailed it to me because I didn't get the
        ·7· certified letter from the sheriff's office that they
        ·8· gave the 15th.
        ·9· · · Q.· ·All right.· We'll get back to those -- to the
        10· letter you received in a minute.· So let me just go --
        11· before I leave the opening of communications call taker,
        12· it's your testimony that you did not apply for that open
        13· position because you did not think it was available to
        14· you; is that right?
        15· · · A.· ·I inquired about it because I did look it up,
        16· and I saw that, and I asked Dawn about it.· She told me:
        17· Jenna, they did not give you an option to apply to
        18· anything.
        19· · · · · ·And I said --
        20· · · Q.· ·They didn't give you an option to what?· I'm
        21· sorry, I didn't hear you.
        22· · · A.· ·An option to apply to anything.· She told me
        23· that.· But we continued our conversation as a
        24· hypothetical conversation, and then she continued along
        25· the lines of this requires memory, this requires
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        ·1· attention to detail, this -- and another comment was:
        ·2· You will lose all of your benefits at your director's
        ·3· pay.· They will not pay you that.· It will be reduced to
        ·4· communications or call taker, which was considerably a
        ·5· lot lower than what I was making.
        ·6· · · Q.· ·Okay.· And what interest, if any, did you have
        ·7· in still seeking to apply for a communications call
        ·8· taker position despite the fact that it would be at a
        ·9· lesser rate of pay?
        10· · · A.· ·I was trying to finish out my nine months.
        11· · · Q.· ·Okay.· Just to be clear on the record, you were
        12· trying to finish out your nine months so that at the
        13· time you retired, you would be fully entitled to your
        14· full benefits under FRS; is that right?
        15· · · A.· ·That's correct, because I wasn't 62.· I was
        16· 29.3 years, which I had to be 62 if I didn't have
        17· 30 years.
        18· · · Q.· ·So with respect to the communications call
        19· taker opening, was it no longer of interest to you once
        20· you learned that that pay for that position would be
        21· substantially less than that which you were making as
        22· purchasing director?
        23· · · A.· ·Essentially, yes.
        24· · · Q.· ·And did you have any other discussions, other
        25· than what you've already communicated to me in answering
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        ·1· my questions this morning, with Dawn about the
        ·2· communications call taker position other than what
        ·3· you've already talked about?
        ·4· · · A.· ·There might be more.· I would have to refresh
        ·5· my memory.
        ·6· · · Q.· ·But that's all you can think of right now?
        ·7· · · A.· ·Right now, yes.
        ·8· · · Q.· ·All right.· So getting back to Exhibit 3, the
        ·9· next line is from it looks like June 13, Florida
        10· corrections deputy, certified and sponsored.
        11· · · · · ·That was a certified position, correct?
        12· · · A.· ·Correct.
        13· · · Q.· ·And was that of any interest to you as of
        14· August 23, 2021?
        15· · · A.· ·(No response.)
        16· · · Q.· ·Did you hear my question?
        17· · · A.· ·I answered it.· I said no.
        18· · · Q.· ·Oh, I'm sorry.· I didn't hear you say no.
        19· · · A.· ·It was of no interest to me.
        20· · · Q.· ·Okay.· Exhibit 3, the next line says, it looks
        21· like from June 24th, a Florida law enforcement deputy,
        22· certified and sponsorship.
        23· · · · · ·Was that of any interest to you as of
        24· August 23?
        25· · · A.· ·No, sir.
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        ·1· · · Q.· ·The next one is a certified law enforcement
        ·2· deputy, school resource officer from July 22nd.
        ·3· · · · · ·Was that of any interest to you?
        ·4· · · A.· ·No, sir.
        ·5· · · Q.· ·It looks like -- it's not real clear even on my
        ·6· blown-up screen, but it looks like from August 5 of
        ·7· 2021, it was an opening for an automotive mechanic.· Was
        ·8· that a position of any interest to you as of August 23?
        ·9· · · A.· ·No, sir.
        10· · · Q.· ·Okay.· So were -- I think you've already
        11· testified that during your telephone conversation of
        12· approximately 40 minutes with Dawn Heikkila on
        13· August 23rd that you had some discussions with her
        14· regarding this communications call taker position.· Did
        15· you have any specific communications with her about any
        16· of these other openings that we just reviewed on
        17· Exhibit 3?
        18· · · A.· ·Not that I recall.
        19· · · Q.· ·So other than what you've already testified to,
        20· do you have any further recollection of what was
        21· discussed during your 40-minute conversation with Dawn
        22· Heikkila on August 23, 2021?
        23· · · A.· ·Well, she put me on hold, which she had to
        24· check with finance to verify for sure that my director's
        25· approved sick time/vacation would be at the lesser rate
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        ·1· of a call taker if I was allowed to apply.
        ·2· · · Q.· ·Okay.· And did that answer come back while you
        ·3· were on hold or after you were on hold?
        ·4· · · A.· ·Yes.
        ·5· · · Q.· ·What was the answer?
        ·6· · · A.· ·It would be the call taker's salary.
        ·7· · · Q.· ·Okay.· All right.· So did that make a
        ·8· difference as to whether you were interested in applying
        ·9· for the communications call taker position once you got
        10· that answer or confirmation?
        11· · · A.· ·Again, I was not allowed to apply.· They did
        12· not want me there.
        13· · · Q.· ·All right.· For the sake of argument, I want to
        14· get by what you were allowed to do or not allowed to do
        15· and focus on had you been allowed, under your
        16· explanation, would you have made an application for the
        17· communications call taker position on August 23, 2021 --
        18· · · · · ·MR. MACDONALD:· Object.
        19· BY MR. STEFANY:
        20· · · Q.· ·-- or any date thereafter up until your
        21· separation date?
        22· · · · · ·MR. MACDONALD:· Same objection.
        23· · · · · ·You can answer.
        24· · · · · ·THE DEPONENT:· Okay.· I'm confused on who I can
        25· · · answer to.
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        ·1· BY MR. STEFANY:
        ·2· · · Q.· ·Let me try to rephrase it, Ms. Clark, so that
        ·3· you understand my question.
        ·4· · · A.· ·Okay.
        ·5· · · Q.· ·When you learned that your accrued vacation and
        ·6· sick leave benefits would be paid at the lesser rate
        ·7· applicable to a communications call taker, what
        ·8· difference did that make as of August 23, 2021 as to
        ·9· your interest in applying for that job?
        10· · · A.· ·Well, I was waiting for the letter to come that
        11· she was going to send me along with a packet to see if I
        12· had severance, if I had longer to apply for another
        13· sheriff's office in my field because I felt I could not
        14· go anywhere and apply for anything since I was in a lot
        15· of pain.· And I couldn't stop what I was doing at home
        16· and apply for something immediately.· If I had had a
        17· couple of months like the other group that was given the
        18· opportunity to apply and also -- and a longer time
        19· period to find something else, I may not have retired.
        20· Does that make sense?· I was waiting to see what my
        21· options were.
        22· · · Q.· ·Okay.
        23· · · A.· ·I couldn't say for sure.· I don't know.· That's
        24· for sure.· I don't know.
        25· · · Q.· ·So as of August 23, 2021 when you're talking
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        ·1· with Dawn Heikkila, you had not yet received her letter
        ·2· notifying you of your termination -- notifying you of
        ·3· the job elimination effective I think it was
        ·4· September 4, 2021, correct?
        ·5· · · A.· ·That's correct.
        ·6· · · Q.· ·So you receiving the information about what
        ·7· your sick leave and accrued vacation would be paid out
        ·8· at if you applied and received the call taker --
        ·9· communications call taker position, as of that date,
        10· August 23rd, you were going to wait and see what else
        11· you got in paperwork.· Is that your testimony?
        12· · · A.· ·Yes, because she said she didn't even get the
        13· paperwork until Friday.· She didn't know that they were
        14· eliminating my position on the 15th, which the letter
        15· was dated.· She did not know about it until Friday, the
        16· 20th.
        17· · · Q.· ·Okay.
        18· · · A.· ·And then that's when she told me over the phone
        19· I was not allowed, and then the hypothetical questions
        20· kept continuing.· And that's when she told me it was
        21· attention to detail and memory, and it was a -- this is
        22· what it was -- an academy position, and a call taker 911
        23· was the same job.
        24· · · Q.· ·And can I get you to pull out Exhibit 17 in
        25· front of you?
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        ·1· · · A.· ·(Witness complies.)
        ·2· · · Q.· ·Tell me when you have it.
        ·3· · · A.· ·Yeah, I have it.
        ·4· · · Q.· ·I'm going to show you what we've marked as
        ·5· Exhibit 17 to this deposition, Ms. Clark.· Can you
        ·6· identify this document?
        ·7· · · A.· ·Yes.
        ·8· · · Q.· ·Would you agree that it's the letter from Dawn
        ·9· Heikkila notifying you that your job had been
        10· eliminated?
        11· · · A.· ·That's correct.
        12· · · Q.· ·And I think we -- you've made reference to
        13· this, but is it your testimony that you received this
        14· document via registered mail; is that right?
        15· · · A.· ·On the 24th.
        16· · · Q.· ·24th of 2021?
        17· · · A.· ·Yes, or that's the postmark date.· I don't
        18· know.· I still have the envelope.
        19· · · Q.· ·I'm sorry?
        20· · · A.· ·I still have it in the envelope.
        21· · · Q.· ·Have you produced a copy of the envelope to us,
        22· if you know?
        23· · · A.· ·I don't know.
        24· · · · · ·MR. STEFANY:· Counsel, can I just request that
        25· · · you double-check that, and if it's not been
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        ·1· · · produced, would you add it to your production,
        ·2· · · please?
        ·3· · · · · ·MR. MACDONALD:· Yes, we can do that certainly.
        ·4· BY MR. STEFANY:
        ·5· · · Q.· ·So other than this particular -- this letter is
        ·6· a one-page letter as I look at it, Ms. Clark, was there
        ·7· anything else in the registered mailing that was sent to
        ·8· you that you received on August 24, 2021?
        ·9· · · A.· ·No, sir.· I did not receive a packet.
        10· · · Q.· ·So just this -- what you received was just this
        11· letter in an envelope, right?
        12· · · A.· ·Yes.
        13· · · Q.· ·This letter being marked as Exhibit 17; is that
        14· right?
        15· · · A.· ·Yes.· Yes, sir.
        16· · · Q.· ·Okay.· Can you pull out Exhibit 21 from the
        17· stack in front of you?
        18· · · A.· ·(Witness complies.)
        19· · · Q.· ·Tell me when you have it.
        20· · · A.· ·I have it.
        21· · · Q.· ·So this is a three-page set of documents which
        22· we previously marked as Exhibit 21.· Do you recognize
        23· these three pages?
        24· · · A.· ·Yes, sir.
        25· · · Q.· ·So let me get you to identify -- I think the
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        ·1· first two specifically go together, which looks like a
        ·2· screenshot of your -- possibly of something that you got
        ·3· up on your phone; is that right?
        ·4· · · A.· ·Yes.
        ·5· · · Q.· ·So identify specifically the first two pages of
        ·6· Exhibit 21 which are marked as Bates -- Plaintiff's
        ·7· Bates Nos. 1 and 2.
        ·8· · · A.· ·Okay.
        ·9· · · Q.· ·What are those two pages?
        10· · · A.· ·Those two pages are a screenshot of my phone
        11· when I received the DCS, which is the employee software
        12· that had generated when you change times or enter time,
        13· anything that -- to put in for a sick time, a time off,
        14· a day off.· That's what this looks like.
        15· · · Q.· ·And so as I look at this screenshot, it looks
        16· like it's dated August 27, 2021?
        17· · · A.· ·Yes.
        18· · · Q.· ·So I gather -- is that the date you obtained
        19· this screenshot through this software or did you obtain
        20· this screenshot on another date than the 27th?
        21· · · A.· ·No.· That's what's changed.· She changed it.
        22· That's not where that screenshot is.· That's the copy of
        23· my phone that's explaining what time was changed.
        24· That's the shift on that date I would have been off.
        25· · · Q.· ·I understand that as of August 27, you had
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        ·1· originally requested, as I understand your testimony, to
        ·2· take sick leave, correct?
        ·3· · · A.· ·Yes.
        ·4· · · Q.· ·And you saw through this software that instead
        ·5· of sick leave, that it had been marked as administrative
        ·6· leave with pay or code AWPAY, correct?
        ·7· · · A.· ·Correct.
        ·8· · · Q.· ·And so I guess I'm trying to figure out when is
        ·9· it that you made a picture of this screenshot to confirm
        10· that you were being paid through the use of
        11· administrative leave with pay benefits rather than sick
        12· leave?
        13· · · A.· ·It was -- when I talked to AnnMarie, it was
        14· that week.· It was the 20th or 21st I was getting these
        15· emails, or they would come through through emails, and
        16· then they would be -- that's what -- you would get a
        17· copy of the change.· I could get a copy.
        18· · · Q.· ·Okay.· So are you saying that you got an email
        19· from this VCSS software -- VCSA -- or VCSApps software
        20· on a daily basis while you were out for your surgery and
        21· recuperation?· Is that what you're saying?
        22· · · A.· ·No.· That was originally -- you see the time --
        23· it's purchasing, then it's 8 to 18:00.· It's the time
        24· period that I worked that day.
        25· · · Q.· ·That was your normal scheduled shift?
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        ·1· · · A.· ·Yes, but the 27th is the day that I had
        ·2· requested sick.· She changed it, the reason being, admin
        ·3· leave with pay.
        ·4· · · Q.· ·Okay.
        ·5· · · A.· ·As you can see the original -- I don't know
        ·6· what that was.· Original time 4/30/2021, that could have
        ·7· been when I stopped.· I don't know.· And then approved
        ·8· stamp would be a couple days later.· And my employee
        ·9· number is 1992072.· AnnMarie's approved time stamp --
        10· stamped time, excuse me, is 1999062, is her
        11· identification.
        12· · · Q.· ·Okay.· So are you suggesting that this VCSApps
        13· screenshot suggests or shows that the approval for -- or
        14· the approval was made by AnnMarie on May 4, 2021?
        15· · · A.· ·That's what it says.
        16· · · Q.· ·Or do you not know?
        17· · · A.· ·I don't recall my original approval for this
        18· sick time off.
        19· · · Q.· ·Let me ask it this way.· This may be helpful.
        20· Do you recall when you visited your surgeon and
        21· confirmed whatever procedure you were going to have in
        22· August of 2021?
        23· · · A.· ·It was probably around May.· I don't remember
        24· the exact date, but that's probably around the time,
        25· May.
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        ·1· · · Q.· ·All right.· So is it possible from your
        ·2· recollection -- let me not ask if it is possible.· Do
        ·3· you have a specific recollection of whether you
        ·4· initially communicated the need to have the surgery and
        ·5· have an absence to AnnMarie as early as May of 2021?
        ·6· · · A.· ·It could be --
        ·7· · · Q.· ·Okay.
        ·8· · · A.· ·-- yes.
        ·9· · · Q.· ·All right.· So then let's proceed to the third
        10· page of Exhibit 21, and tell me what this particular
        11· page is, which is Plaintiff's Bates No. 3?
        12· · · A.· ·I sent her the text -- I can see that -- Hi
        13· there, I left you a message, drains are still in --
        14· obviously, that's a Saturday -- and I'm resting.
        15· · · · · ·And I told her she could call me on my cell
        16· phone, and then she said, call me.
        17· · · Q.· ·All right.· So if --
        18· · · A.· ·My dates are -- I'm thinking they're a little
        19· off because now that I'm looking at this -- but I know
        20· when I talked to her, I just didn't recall the time of
        21· when she contacted me.
        22· · · Q.· ·All right.· So if -- just specifically looking
        23· at Plaintiff's Bates No. 3, which is the third page of
        24· Exhibit 21, so this is a screenshot photo of your cell
        25· phone --
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        ·1· · · A.· ·Correct.
        ·2· · · Q.· ·-- which includes a text message from AnnMarie
        ·3· Reno that says:· Can you call me.· I have to talk to
        ·4· you.
        ·5· · · · · ·Correct?
        ·6· · · A.· ·That's correct.
        ·7· · · Q.· ·It doesn't appear to me that it's clear what
        ·8· day that was or what day of the week it was that text
        ·9· was made to you, but do you think that was on the 21st
        10· of August 2021?
        11· · · A.· ·No, I think it was before, but it doesn't
        12· change the message.
        13· · · Q.· ·Sure.· So whenever it was sent, right above
        14· that it says:· Read Saturday?
        15· · · A.· ·Right.
        16· · · Q.· ·And then there's -- it looks to me like in the
        17· blue writing there's a response from you on Saturday at
        18· 9:09 a.m.· It starts with:· Hi there, I left you
        19· message, I'm doing fine -- blah, blah, blah.
        20· · · · · ·So you responded Saturday, August 21, 2021 to
        21· this text message; is that right?
        22· · · A.· ·Yes.
        23· · · Q.· ·At the top of this particular sheet is, it
        24· looks to me, like a text message you may have sent to
        25· AnnMarie way back on August 10th of 2021; is that right?
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        ·1· · · A.· ·That's correct.
        ·2· · · Q.· ·Something about backpacks donation?
        ·3· · · A.· ·Yes.
        ·4· · · Q.· ·So I think you had already talked about this
        ·5· before, but after this exchange of text messages on this
        ·6· Saturday, which, as I understand it, appears to be at
        ·7· least a reply to you -- replied by you to AnnMarie
        ·8· Reno's text on Saturday, August 21, 2021, correct?
        ·9· · · A.· ·Yes.
        10· · · Q.· ·Then you guys had a brief phone conversation,
        11· which we've already talked about?
        12· · · A.· ·Yes.
        13· · · Q.· ·And that phone conversation is the first you
        14· learned that your job had been eliminated as part of
        15· this reorganization, correct?
        16· · · A.· ·That's correct.
        17· · · Q.· ·All right.· After talking with AnnMarie Reno,
        18· as you've previously testified, on that Saturday, the
        19· next person you spoke with at the LCSO was Dawn Heikkila
        20· on the following Monday?
        21· · · A.· ·Concerning her --
        22· · · Q.· ·Concerning the job situation --
        23· · · A.· ·But I also made a phone conversation -- I
        24· called my staff, and I called Shannon, and I, you know,
        25· texted or called the other girls, too.· I don't know if
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        ·1· I called all of them.· I don't even remember who I
        ·2· called, but I know I talked to Shannon.· And I texted
        ·3· Jill Jones.· Those are the only people I talked to at
        ·4· the sheriff's office.
        ·5· · · Q.· ·Let me just be clear about what you just said.
        ·6· So after talking with AnnMarie Reno on the phone on that
        ·7· Saturday, you recall calling some of your staff members?
        ·8· · · A.· ·Correct.
        ·9· · · Q.· ·And the purpose of those calls was what?
        10· · · A.· ·To let them know that she had called me --
        11· · · Q.· ·Okay.
        12· · · A.· ·-- while I was off, and I told them, and they
        13· were just in shock.
        14· · · Q.· ·So you mentioned in addition to some of your
        15· staff -- in addition to your calling some of your staff
        16· including Shannon, you also called Jill Jones or texted
        17· her?
        18· · · A.· ·That's correct.
        19· · · Q.· ·And what was Jill Jones's title with LCSO at
        20· the time; do you remember?
        21· · · A.· ·Budget.· She was already promoted to budget
        22· director.
        23· · · Q.· ·Why did you contact Jill Jones after talking
        24· with AnnMarie Reno?
        25· · · A.· ·Because it was her birthday, and I -- I told
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        ·1· her -- I didn't talk to her.· I just left her a message
        ·2· and said:· I think they weren't done with reorganizing.
        ·3· · · Q.· ·The message you left her, Jill Jones, was a
        ·4· voicemail message or a text message?
        ·5· · · A.· ·I don't remember.
        ·6· · · Q.· ·The substance of the message you left for Jill
        ·7· Jones was, in part, a happy birthday greeting?
        ·8· · · A.· ·Correct.
        ·9· · · Q.· ·And, in part, was something about the
        10· reorganization?
        11· · · A.· ·Well, I said -- I don't remember the exact
        12· words.· I just said to her that they weren't either done
        13· with the reorganizing because we thought -- she's the
        14· one that told me:· I think they're all done with that.
        15· · · · · ·So I was like -- that's why I made the comment
        16· to her.
        17· · · Q.· ·Okay.
        18· · · A.· ·I can't tell you when we had the conversation
        19· about staffing or anything like that.
        20· · · Q.· ·Okay.· So as I understand your testimony, you
        21· had had some conversation with Jill Jones that dealt
        22· with her communicating to you that she thought or it was
        23· her -- she was under the impression that the
        24· reorganization was no longer continuing or had finished
        25· or something to that effect?
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        ·1· · · A.· ·Correct.
        ·2· · · Q.· ·And you don't remember specifically when that
        ·3· conversation took place, but it was sometime prior to
        ·4· the time you went out for your surgery in August of
        ·5· 2021?
        ·6· · · A.· ·Correct.
        ·7· · · Q.· ·And so part of your message that you left with
        ·8· Jill Jones other than the birthday greeting was to sort
        ·9· of say the reorganization isn't finished.· Did you
        10· indicate that you had just received notification that
        11· your job had been eliminated?
        12· · · A.· ·Yes.
        13· · · Q.· ·All right.
        14· · · A.· ·Yes, that Ann --
        15· · · Q.· ·Go ahead.
        16· · · A.· ·-- that AnnMarie called me and told me my job
        17· was eliminated.
        18· · · Q.· ·And did you leave anything -- did you say
        19· anything else in this message that you left Jill Jones
        20· other than what you said?
        21· · · A.· ·I don't recall.
        22· · · Q.· ·And just to be clear, this communication with
        23· Jill Jones took place before you then talked with Dawn
        24· Heikkila on August 23?
        25· · · A.· ·Yes, because it was her birthday.
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        ·1· · · Q.· ·Okay.· Is her birthday actually the 21st?
        ·2· · · A.· ·Yes, because my granddaughter's is the same
        ·3· day.· I always remember.
        ·4· · · Q.· ·Okay.· Thanks.· And the conversation you had
        ·5· with the staff members that you've identified as well as
        ·6· Shannon Lehman, was that also on the 21st?
        ·7· · · A.· ·Yes.
        ·8· · · Q.· ·So let me make sure that -- you've given me
        ·9· some indication of the scope of the communications you
        10· had in your telephone conference with Dawn Heikkila on
        11· August 23, 2021.· After you were discussing the
        12· communications call taker position and you got the
        13· information or confirmation about at what rate the
        14· accrued sick leave and accrued vacation would be paid
        15· out if you took that position, was there anything else
        16· discussed with her that we haven't already talked about
        17· during that call on August 23rd?
        18· · · A.· ·Just that she asked me to contact Doreen Sal --
        19· I forget how to say her last name.· She's benefit, and
        20· she --
        21· · · Q.· ·Salvagno?
        22· · · A.· ·Yes, yes.· I asked her -- or she told me to
        23· contact Doreen and set up an appointment to come and see
        24· her, so that's what I did.· I don't recall if I talked
        25· to her that day, like she transferred me to her or not,
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        ·1· or if I just called her back on my own and then set up a
        ·2· meeting.
        ·3· · · Q.· ·All right.· And then how many meetings with
        ·4· Doreen Salvagno did you have?· Just one or were there
        ·5· multiple meetings with her?
        ·6· · · A.· ·I had one in the office and then probably
        ·7· talked to her on the phone a couple of times after --
        ·8· before and after maybe.
        ·9· · · Q.· ·Okay.
        10· · · · · ·MR. MACDONALD:· David, do you think we could
        11· · · take a quick break soon?
        12· · · · · ·MR. STEFANY:· Yeah.· We can take it right now.
        13· · · · · ·MR. MACDONALD:· Perfect.
        14· · · · · ·MR. STEFANY:· It's also -- I see that it's also
        15· · · 12:15 or so.· We also could take a meal break at
        16· · · this point if you wanted to go ahead and do that,
        17· · · and then we can reconvene at whatever time everybody
        18· · · is agreeable to.
        19· · · · · ·MR. MACDONALD:· Yeah, that would be great.
        20· · · Could we take like an hour?· Would that work?· Come
        21· · · back at like 1:15?
        22· · · · · ·MR. STEFANY:· That's fine with me.
        23· · · · · ·Michelle, does that work with you?
        24· · · · · ·THE COURT REPORTER:· Yes, that's fine with me.
        25· · · · · ·MR. STEFANY:· All right.· We'll be back at
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        ·1· · · 1:15.
        ·2· · · · · ·MR. MACDONALD:· Perfect.
        ·3· · · · · · · · · · ·(Lunch Recess)
        ·4· · · · · ·A F T E R N O O N· S E S S I O N
        ·5· BY MR. STEFANY:
        ·6· · · Q.· ·Ms. Clark, I'm reminding you you're still under
        ·7· oath.
        ·8· · · A.· ·Okay.
        ·9· · · Q.· ·Make sure -- test your microphone to make sure
        10· we're hearing you.
        11· · · A.· ·Can you hear me?
        12· · · Q.· ·Yes.· Thank you.· I just want to make sure
        13· we're hearing you.· So, Ms. Clark, you mentioned earlier
        14· before we took our meal break that you had had a message
        15· you left with Jill Jones sometime after receiving or
        16· having a discussion on the morning of August 21, 2021
        17· with AnnMarie Reno, and I just wanted to ask you a
        18· question.· It referenced -- or you referenced in
        19· describing that message you left to Jill Jones that
        20· there had been some sort of meeting that you had had
        21· with her or a discussion you had had with her about
        22· whether or not the sheriff's office reorganization was
        23· completed or over or was finished or something to that
        24· effect.· Do you recall that testimony?
        25· · · A.· ·Yes, it was months before, and people were
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        ·1· always nervous that they were still going to get rid of
        ·2· people.· So we had a conversation, and she said, yeah, I
        ·3· believe they're all done with all that.
        ·4· · · Q.· ·So was that a conversation that -- I know you
        ·5· don't recall specifically when it took place.· That's
        ·6· fine.· But is that a conversation that you believe took
        ·7· place sometime in early 2021?
        ·8· · · A.· ·It could have been in 2021.
        ·9· · · Q.· ·Okay.
        10· · · A.· ·But I don't know positively.· I don't know if
        11· it was or wasn't.· I just had a conversation with her.
        12· · · Q.· ·And was that conversation something where you
        13· initiated the discussion about getting that assurance
        14· from Jill Jones or was it something that just kind of
        15· came up random, if you know what I mean?
        16· · · A.· ·Just random.· I don't know who started it.
        17· · · Q.· ·So the other thing I wanted to do is between
        18· the time that you talked with AnnMarie Reno on the
        19· morning of August 21st and contacting Dawn Heikkila on
        20· the morning of August 23rd of 2021, what -- other than
        21· looking at what open positions there were, which I
        22· understand you did, did you do any sort of research
        23· about what the positions entailed, how much they paid,
        24· those kinds of things?
        25· · · A.· ·No.· I asked her about it.
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        ·1· · · Q.· ·Okay.· So let me get you to look at Exhibit 4
        ·2· that you should have in front of you somewhere.
        ·3· · · A.· ·Okay.
        ·4· · · Q.· ·Have you seen this document before?· It's a
        ·5· four-page document.
        ·6· · · A.· ·No.
        ·7· · · Q.· ·So let me identify it for the record.· It
        ·8· appears to be a copy of a job opening for communications
        ·9· call taker closing on September 30, 2021.· The date of
        10· this particular image is August 2nd of 2021, and the
        11· second page sort of is an advertisement or a graphic of
        12· the type of hiring that this position was seeking.· It
        13· says:· Communications 911 call taker, full time, $36,500
        14· a year, with a various description beneath that of -- it
        15· says:· What we offer, with various bullet points.
        16· · · · · ·Did you ever understand or come to have any
        17· kind of understanding of what the full-time salary and
        18· available benefits would be for this position that was
        19· open as of August of 2021?
        20· · · A.· ·No.· I asked Dawn on Monday.
        21· · · Q.· ·When you say Monday, that refers to
        22· August 23rd, 2021?
        23· · · A.· ·Yes.
        24· · · Q.· ·If you know, did Dawn have any relative or
        25· family member who was working as a communications call
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        ·1· taker at that time?
        ·2· · · A.· ·Yes.· I don't know -- I think it was her
        ·3· stepson.
        ·4· · · Q.· ·Okay.· And do you know how long her stepson had
        ·5· been working as a communications call taker at that
        ·6· time?
        ·7· · · A.· ·No.
        ·8· · · Q.· ·At any point during the communication on the
        ·9· 23rd of August 2021 with Dawn Heikkila, did you ask any
        10· of the specifics, salary or benefits, that went with
        11· this particular position of a communications call taker?
        12· · · A.· ·We all have the same benefits, so that wouldn't
        13· change.· It was just the salary.· All she basically told
        14· me was quite a bit lower than what I was making.
        15· · · Q.· ·Yeah, well, 36,500 a year was the salary being
        16· offered in this open position.· You were making over
        17· 93,000 a year at that time; is that right?
        18· · · A.· ·Around that.· I'm not sure of the exact amount.
        19· · · Q.· ·Did you understand from the discussions you had
        20· with Dawn on the morning or -- on August 21 -- no --
        21· August 23, 2021 -- I'm sorry for the confusion -- did
        22· you come to have an understanding that the salary was
        23· actually that low, 36,500, or was it you just knew that
        24· it was way lower than what you were making?
        25· · · A.· ·I just knew it was more than half.· I was
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        ·1· making more than -- half more than the salary.
        ·2· · · Q.· ·And it was your understanding, and I was
        ·3· saying, the significant drop in salary for that position
        ·4· that the benefits would have been the same as a
        ·5· full-time employee of the LCSO, correct?
        ·6· · · A.· ·Benefits are the same.
        ·7· · · Q.· ·And then a lot of the benefits, as you
        ·8· understood them, pertained to how long you had been
        ·9· employed, what seniority you had and those kinds of --
        10· tenure you had with the agency, correct?
        11· · · A.· ·Well, I don't really know.· We didn't get into
        12· the -- to see if I would have had my four weeks vacation
        13· taken from me, too.· Who knows?· But like I said, I was
        14· never offered an opportunity to apply anyway.
        15· · · Q.· ·Do you have any recollection of whether Dawn
        16· Heikkila said to you during this telephone conference
        17· with her on August 23, 2021 whether you should consider
        18· it or look into it or anything along those lines, like a
        19· recommendation one way or the other?
        20· · · A.· ·She recommended that I take my retirement and
        21· call Doreen.
        22· · · Q.· ·And did she explain why she recommended that
        23· you take the retirement or did she just make that
        24· recommendation?
        25· · · A.· ·She said to look into the penalty, I believe,
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        ·1· and she was stating that I had no choice.
        ·2· · · Q.· ·Okay.
        ·3· · · A.· ·That I was not given the opportunity to apply
        ·4· for another position.· So she's telling me, you have to
        ·5· do this or you're going to be terminated.
        ·6· · · Q.· ·Let me get you to turn to Exhibit 13.· Do you
        ·7· have that in front of you?
        ·8· · · A.· ·Yes.
        ·9· · · Q.· ·Have you seen these pages before?
        10· · · A.· ·Yes.
        11· · · Q.· ·So for purposes of identification, Exhibit 13
        12· is a copy of the attendance report for you as the
        13· purchasing director for the LCSO for the period of time
        14· between July 25, 2021 and your separation date.· On the
        15· second page of Exhibit 13, if you refer to the date
        16· beginning August 17, 2021, it shows that you were
        17· provided with three hours of administrative leave with
        18· pay.· Do you see that?
        19· · · A.· ·Yes.
        20· · · Q.· ·It looks like from that point forward until and
        21· including your separation date of September 3, 2021, you
        22· were provided ten hours of administrative leave with
        23· pay.· Do you recall that that was the pay that you
        24· received for the rest of the tenure of your employment?
        25· · · A.· ·Yeah.· For the attendance report, yes.
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        ·1· · · Q.· ·Okay.· And then if you look to Exhibit 16 to
        ·2· the multiple-page exhibit, can you pull that out and
        ·3· open it up for a second?
        ·4· · · A.· ·(Witness complies.)
        ·5· · · Q.· ·Do you have that in front of you?
        ·6· · · A.· ·Yes.
        ·7· · · Q.· ·So from a view from 5,000 feet, so to say, this
        ·8· is a copy of a section of the LCSO's operations manual,
        ·9· and it's a part of Chapter 22, which is the chapter on
        10· Compensation and Benefits.· Are you familiar with the
        11· operations manual of the LCSO --
        12· · · A.· ·Yes.
        13· · · Q.· ·And with respect to the section which is
        14· essentially Chapter 22.2 entitled Benefits, is this
        15· consistent with your understanding of what benefits and
        16· leave policies the LCSO had in effect in and around your
        17· separation date in 2021?
        18· · · A.· ·Yes, it looks like it.
        19· · · Q.· ·So when you got the call from AnnMarie Reno on
        20· the 21st of August 2021, did at any time thereafter did
        21· you go and pull up this particular chapter of the
        22· operations manual to research or try to get a better
        23· understanding of what types of separation benefits you
        24· would be entitled to as part of a decision you may make
        25· to retire and leave the employment of the sheriff's
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        ·1· office?
        ·2· · · A.· ·No.
        ·3· · · Q.· ·I think you testified earlier that you were put
        ·4· on hold for some period of time when you were speaking
        ·5· with Dawn Heikkila on the morning of August 23, 2021
        ·6· where she was verifying something with respect to how
        ·7· your vacation -- accrued vacation and accrued sick leave
        ·8· would be paid out upon separation if you went further
        ·9· with a potential interest in the communications call
        10· taker position.· At any time did the confirmation
        11· information about the answer to that inquiry, did it
        12· reference part of this Exhibit 16 or section of this
        13· exhibit, or did it not get that granular, so to speak?
        14· · · A.· ·Did she talk about 22?
        15· · · Q.· ·Yeah.
        16· · · A.· ·No, no.
        17· · · Q.· ·Can I get you to pull up Exhibit 7.· Tell me
        18· when you have it.
        19· · · A.· ·I have it.
        20· · · Q.· ·Have you seen this document before?
        21· · · A.· ·Yes.
        22· · · Q.· ·Do you recognize it as the EEOC charge of
        23· discrimination statement, which you executed on
        24· November 16, 2021?
        25· · · A.· ·Yes.
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        ·1· · · Q.· ·So is that your signature on the bottom of the
        ·2· first page of Exhibit 7?
        ·3· · · A.· ·Yes.
        ·4· · · Q.· ·You, in fact, signed this document on the 16th
        ·5· of November 2021?
        ·6· · · A.· ·Yes.
        ·7· · · Q.· ·And the next several pages after that first
        ·8· page is a typewritten document.· Did you prepare this
        ·9· typewritten document, or did somebody else prepare it
        10· for you?
        11· · · A.· ·Somebody else.
        12· · · Q.· ·Did you view or review this statement before
        13· you signed the first page of Exhibit 7?
        14· · · A.· ·Yes.
        15· · · Q.· ·And did you confirm in reviewing the
        16· typewritten part of Exhibit 7 that all the statements
        17· made therein were accurate and correct to the best of
        18· your knowledge?
        19· · · A.· ·At that time, yes.
        20· · · Q.· ·Let me ask you a couple questions about some of
        21· the statements made in this attachment to your charge,
        22· Exhibit 7.· So in paragraph 5 of the statement, it says
        23· you began working for the LCSO as a financial assistant.
        24· Was that your initial title?
        25· · · A.· ·That's correct.· That's what I started off in,
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        ·1· finance.
        ·2· · · Q.· ·So at some point after you had been in finance,
        ·3· you went to a new department or broke out to a new
        ·4· department, if that's the better language.· How far into
        ·5· your many years of employment with the LCSO did you
        ·6· leave the finance department and go to a new department?
        ·7· · · A.· ·Under a year.· It was probably more than six
        ·8· months, but it was under a year.
        ·9· · · Q.· ·Okay.
        10· · · A.· ·Approximately.
        11· · · Q.· ·So as I understand your testimony, you were
        12· only in the finance division for -- or department for
        13· less than a year or approximately --
        14· · · A.· ·Well, technically working in finance, but at
        15· one point in my career, purchasing fell under finance's
        16· department.
        17· · · Q.· ·Okay.· And did it become its own separate
        18· division or department approximately 2012?
        19· · · A.· ·I don't know.
        20· · · Q.· ·Okay.· My recollection is you were promoted to
        21· the position of director of purchasing in 2012; is that
        22· right?
        23· · · A.· ·I was -- I probably had eight years, so
        24· probably.· I don't know the exact date.· I'd have to
        25· count back.
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        ·1· · · Q.· ·Let me ask it this way:· Did the creation of
        ·2· the purchasing department becoming its own standalone
        ·3· department, did that coincide with your promotion to the
        ·4· position of director?
        ·5· · · A.· ·No, because it happened when I was a manager in
        ·6· purchasing.
        ·7· · · Q.· ·Okay.
        ·8· · · A.· ·We were separate from them, and I fell under
        ·9· budget services.
        10· · · Q.· ·Okay.
        11· · · A.· ·I can tell you by who was the director or the
        12· manager in finance who I did not work for.
        13· · · Q.· ·All right.· Well, I can get that from the
        14· various reports.
        15· · · A.· ·Okay.
        16· · · Q.· ·Let me ask you this:· Can I draw your attention
        17· to paragraph 8 of the typewritten supporting statement,
        18· which is part of Exhibit 7?· It says:· On or around
        19· August 12, 2021, claimant took approved sick leave for a
        20· scheduled surgery.
        21· · · · · ·That date is actually the 17th of August,
        22· correct, to be accurate?
        23· · · A.· ·I think she's going by the letter that was from
        24· the August 12th meeting when I wrote the letter to Dawn,
        25· and that's where the 12th came in.· But, yes, my actual
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        ·1· scheduled surgery was the 18th.· I took three hours off
        ·2· on the 17th for the drive over here.
        ·3· · · Q.· ·Okay.· So directing your attention further in
        ·4· the document to paragraph No. 12, it says:· Claimant
        ·5· then noticed on the system database, quote, email
        ·6· workflow, close quote, that her previously approved sick
        ·7· leave had been changed to, quote, admin leave with pay,
        ·8· close quote.
        ·9· · · · · ·Do you see that?
        10· · · A.· ·Yes.
        11· · · Q.· ·When did you notice that particular change in
        12· the system database?· Do you remember?
        13· · · A.· ·It was before I talked to AnnMarie because I
        14· asked her about it in my conversation.· So this is a
        15· little bit off.
        16· · · Q.· ·So when you asked her about it in the
        17· conversation you had with AnnMarie Reno on the morning
        18· of August 21, 2021, what did AnnMarie say in response,
        19· if anything?
        20· · · A.· ·She didn't.· She didn't.· She just told me,
        21· repeated again, and said:· Your job has been -- your
        22· position has been eliminated due to reorganizing, and I
        23· needed to notify Dawn on Monday, 8/23.
        24· · · Q.· ·So then going to paragraph 14 of the attachment
        25· to Exhibit 7, or part of Exhibit 7, it says:· On or
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        ·1· around August 23, 2021, claimant met with Heikkila to
        ·2· discuss the status of her position and see what other
        ·3· options would be available to her.
        ·4· · · · · ·In fact, you didn't meet with Heikkila, you
        ·5· talked with her over the phone; isn't that true?
        ·6· · · A.· ·That's correct.
        ·7· · · Q.· ·And that's that 40-minute conversation you've
        ·8· already talked about, right?
        ·9· · · A.· ·Correct.
        10· · · Q.· ·Okay.· In paragraph 15, what you're referencing
        11· that Dawn Heikkila told you was all part of the same
        12· 40-minute meeting -- or excuse me -- 40-minute
        13· conference over the phone?
        14· · · A.· ·That's correct.
        15· · · Q.· ·So it looks like in paragraph 16, the second
        16· sentence of paragraph 16 says:· Claimant expressed to
        17· Heikkila that she was interested in applying so that she
        18· could continue her employment at least until her
        19· retirement date matured, and that is something that you
        20· expressed to Dawn Heikkila during the meeting on
        21· August 23 -- not the meeting, the conference -- on
        22· August 23, 2021?
        23· · · A.· ·That's correct, before I got the letter and
        24· before she told me that I did not have that option.
        25· · · Q.· ·Paragraph 17 goes on to say:· When claimant
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        ·1· expressed her interest in applying, Heikkila told
        ·2· claimant that the jobs posted were academy positions
        ·3· which required strict testing to even be considered.
        ·4· · · · · ·This reference to academy positions, are those
        ·5· certified positions that we discussed earlier?
        ·6· · · A.· ·No.· They're academy positions.· They have to
        ·7· go through a training prior to being able to work those
        ·8· jobs.
        ·9· · · Q.· ·And this was all part of the same telephone
        10· conference you had with Dawn on the 23rd of August 2021?
        11· · · A.· ·Yes.
        12· · · Q.· ·Paragraph 18 goes on to say:· Heikkila also
        13· advised that even if you were to get one of the
        14· available positions, you would likely not be able to
        15· receive your accrued sick leave or vacation time earned
        16· at the rate of your current position as purchasing
        17· director.
        18· · · · · ·Did Dawn Heikkila say that to you in the
        19· meeting -- in the conference on August 23rd?
        20· · · A.· ·Yes.· Then she put me on hold and checked with
        21· finance to make sure she was correct in telling me that.
        22· · · Q.· ·So when is it, if you recall, when is it
        23· between the period of August 23, 2021 when you met with
        24· Dawn -- when you talked with Dawn Heikkila over the
        25· telephone and your separation date of September 3, 2021,
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        ·1· when during that gap of time did you make the decision
        ·2· to resign and retire with FRS?· Do you remember?
        ·3· · · A.· ·Maybe a week later.· I'm not sure.
        ·4· · · Q.· ·Let me to get you to pull out Exhibit 6, and
        ·5· that's --
        ·6· · · · · ·MR. STEFANY:· That was initially, Kyle, that
        ·7· · · one that my staff left out of the stacks of -- I
        ·8· · · assume it got in the right space for the witness.
        ·9· · · · · ·MR. MACDONALD:· Yes, we should be good.
        10· BY MR. STEFANY:
        11· · · Q.· ·Tell me when you have Exhibit 6 in front of
        12· you, Ms. Clark.
        13· · · A.· ·I have it.
        14· · · Q.· ·So do you recognize Exhibit 6 as a copy of your
        15· call detail on your agency-issued phone?
        16· · · A.· ·Yes.
        17· · · Q.· ·And this particular call detail is for the
        18· period beginning August 2, 2021 and ending August 23,
        19· 2021; is that right?
        20· · · A.· ·Yes.
        21· · · Q.· ·So let me just direct your attention to the
        22· second page of this particular exhibit.· If you scroll
        23· down to the date in the far left-hand column, the date
        24· of August 21, it looks like there's a communication at
        25· 7:59 a.m. to (239) -- or from (239) 848-0403.· Is that
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        ·1· AnnMarie Reno's number; do you know?
        ·2· · · A.· ·Yes.
        ·3· · · Q.· ·And a follow-up communication to the same
        ·4· number at 9:10 a.m.
        ·5· · · · · ·Do you see that?
        ·6· · · A.· ·On the same day, yes.
        ·7· · · Q.· ·So those two calls are two communications on
        ·8· August 21.· Do you understand those communications sort
        ·9· of coincide with a text message and then your
        10· communication over the phone with AnnMarie Reno?
        11· · · A.· ·You're telling me one at 7:59, that that was in
        12· a text message?
        13· · · Q.· ·I'm assuming, but I'm asking you.· I don't want
        14· to make the assumption.
        15· · · A.· ·I don't know.· I can see it -- it just says
        16· Fort Myers, so I would say --
        17· · · Q.· ·So you're not sure.· That's okay.· If you're
        18· not sure --
        19· · · A.· ·I can't tell because I was looking at what was
        20· incoming because she called me back.· I don't know.          I
        21· don't know if that's a text or if that's a call.
        22· · · Q.· ·That's fair.· If you scroll down a couple other
        23· spots to the communications using your agency phone on
        24· August 23, the very first one is at 8:09 a.m. to a
        25· number that's (239) 850-5927.· Do you know whose number
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        ·1· that is?
        ·2· · · A.· ·I don't.
        ·3· · · Q.· ·The next number at 10:09 a.m. is (239)
        ·4· 477-1000.· Was that your call to Dawn Heikkila?
        ·5· · · A.· ·I would say so.
        ·6· · · Q.· ·And the next call is to area code (713)
        ·7· 623-1433.· Do you know what number that is?
        ·8· · · A.· ·It's an incoming, so it could have been a spam
        ·9· call.· I don't know.
        10· · · Q.· ·Fair enough.· Thank you.· Can you pull out
        11· Exhibit 22 in front of you, please?· Tell me when you're
        12· there.
        13· · · A.· ·I have it.
        14· · · Q.· ·So for the record, Exhibit 22 are Plaintiff's
        15· Bates No. 8, 9 and 10.· Have you seen these documents
        16· before, Ms. Clark?
        17· · · A.· ·Yes.
        18· · · Q.· ·So by page number as referenced by the red
        19· printing in the bottom right-hand corner, can you
        20· identify each sheet of these -- of Exhibit 22 for me,
        21· tell me what they are?
        22· · · A.· ·They are my final checks.
        23· · · Q.· ·So the very first document of Exhibit 22, which
        24· is Plaintiff's Bates No. 8, that's your final paycheck
        25· for the final pay period that you were employed by the
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        ·1· LCSO?
        ·2· · · A.· ·You're talking about 8, the first one?
        ·3· · · Q.· ·Yeah.
        ·4· · · A.· ·I think so.
        ·5· · · Q.· ·And if I look in the top left-hand corner of
        ·6· the printout of the check stub, it looks like you're
        ·7· being paid 80 hours of administrative leave with pay?
        ·8· · · A.· ·Okay.
        ·9· · · Q.· ·In that pay of 2,525.48; is that right?
        10· · · A.· ·Yes.
        11· · · Q.· ·So then the next page, which is Plaintiff Bates
        12· No. 9, slightly cut off in the top right-hand corner,
        13· but do you know what this particular document reflects,
        14· this particular page?
        15· · · A.· ·Sort of.
        16· · · Q.· ·Yeah, the way we got it is it's slightly cut
        17· off.
        18· · · A.· ·It's one of my final checks.
        19· · · Q.· ·If I look in the top left-hand corner, it looks
        20· like to me like it may reflect the payout of accrued
        21· sick leave for 100 hours.
        22· · · A.· ·That's what it looks like.
        23· · · Q.· ·Do you recall receiving a payout of 100 hours
        24· of sick leave at the time you were --
        25· · · A.· ·Yeah, these are my pay stubs.
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        ·1· · · Q.· ·Okay.· And the third page, Bates No. 10,
        ·2· appears to be a separate stub for the payout of vacation
        ·3· -- accrued vacation; is that correct?
        ·4· · · A.· ·Yes.
        ·5· · · Q.· ·Okay.
        ·6· · · A.· ·That's correct.
        ·7· · · Q.· ·And that's for 404.51 hours?
        ·8· · · A.· ·Yes.
        ·9· · · Q.· ·So is it a true statement, Ms. Clark, that upon
        10· your separation from employment with the LCSO that you
        11· received a payout of all accrued benefits that you were
        12· -- that you believe you were entitled to under the
        13· sheriff's policy's benefits?
        14· · · A.· ·Under the policy's, yes.· Did I get all of my
        15· sick pay, no.
        16· · · Q.· ·Okay.· So explain that distinction that you
        17· just made.· You did not get all of your sick leave?
        18· · · A.· ·Things were changed, and I'm not sure what my
        19· sick pay was, but you've only got half of the sick pay.
        20· But that's like I said, that was per policy out of so
        21· much.· If you were there a certain amount of time, you
        22· got more than you did when you were a new employee.
        23· They wouldn't have paid you the same amount of money.
        24· · · Q.· ·So if I understand your testimony, you're
        25· saying you got the -- you got the accrued sick leave
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        ·1· payout that you were entitled to under the policy, and
        ·2· that amount was 100 hours; is that right?
        ·3· · · A.· ·I don't remember.· It could have been 200 and
        ·4· then they pay you 100 because they cut it in half.
        ·5· · · Q.· ·By policy, correct?
        ·6· · · A.· ·Correct.
        ·7· · · Q.· ·Okay.· Can you pull out Exhibit 8.· Tell me
        ·8· when you're there.
        ·9· · · A.· ·Okay, I have it.
        10· · · Q.· ·Exhibit 8 is a several page document dated
        11· August 2, 2022 to you from the U.S. Equal Employment
        12· Opportunity Commission.· Have you seen this before?
        13· · · A.· ·Yes.
        14· · · Q.· ·This reports to be the dismissal of your charge
        15· of discrimination and the notice of your right to sue
        16· concerning the charge of discrimination that you filed
        17· against the sheriff's office; is that right?
        18· · · A.· ·That's correct.
        19· · · Q.· ·And during the course of the EEOC's
        20· investigation into your charge of discrimination, did
        21· you actively stay in touch with the EEOC and review the
        22· documentation in your investigative file?
        23· · · A.· ·I tried to.· It took a long time for this
        24· investigation.
        25· · · Q.· ·Can you pull up Exhibit No. 9?
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        ·1· · · A.· ·I have it.
        ·2· · · Q.· ·Do you recognize this document?
        ·3· · · A.· ·Yes.
        ·4· · · Q.· ·It purports to be communications via email to
        ·5· various individuals, including myself, including
        ·6· lauren@dereksmithlaw.com, and including yourself at
        ·7· jennaclark1962@gmail.com.
        ·8· · · · · ·Do you see that?
        ·9· · · A.· ·Yes.
        10· · · Q.· ·So the only real question I have is if you go
        11· to the second -- these are not consecutively numbered,
        12· but it's the second sheet of Exhibit 9, which is an
        13· email, which was -- looked like it was sent on the 29th
        14· of April 2022 to kia@dereksmithlaw.com and to you at
        15· your email address that you've identified earlier today.
        16· Do you see where I'm referring to?
        17· · · A.· ·Yes.
        18· · · Q.· ·So do you remember receiving this email?
        19· · · A.· ·What is body of message could not be extracted?
        20· · · Q.· ·Where are you referring to?· I'm sorry.
        21· · · A.· ·The last page, body of message could not be
        22· extracted.
        23· · · Q.· ·I don't know what that means, Ms. Clark, to
        24· answer your question, but that appears to be an email to
        25· kia@dereksmithlaw.com dated December 29, 2021.· I was
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        ·1· referring to the email specifically on the second page
        ·2· of Exhibit 9 that was sent to you and
        ·3· kia@dereksmithlaw.com on April 29, 2022.· My question
        ·4· was do you remember receiving this April 29, 2022 email?
        ·5· · · A.· ·It says I received it.· I must have received
        ·6· it, but I don't recall it.
        ·7· · · Q.· ·Okay.· That's fair.· Just ask you two -- very
        ·8· first paragraph -- first two paragraphs of this
        ·9· particular email, it says, and I quote, EEOC has
        10· provided the position statement that Lee County Sheriff
        11· Office submitted on your charge -- referencing the
        12· charge number.· To review the position statement and any
        13· relevant attachments or supplements, please go to the
        14· EEOC public portal as soon as possible, choose the,
        15· quote, my cases, close quote, option, and log in to
        16· review your charge.
        17· · · · · ·Do you see that?
        18· · · A.· ·Yes.
        19· · · Q.· ·Did you do that when you received that email or
        20· do you have any recollection of doing that?
        21· · · A.· ·I may have, but I don't recall if I did or not.
        22· · · Q.· ·That's fine.· Next paragraph says:· It will be
        23· helpful to EEOC's investigation if you provide a
        24· response to the respondent's position statement by
        25· May 19, 2022.
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        ·1· · · · · ·Do you see that?
        ·2· · · A.· ·Yes.
        ·3· · · Q.· ·Do you recall whether you or your
        ·4· representative ever submitted a response to the position
        ·5· statement?
        ·6· · · A.· ·I did not, and it would have been her, but I
        ·7· don't know.
        ·8· · · Q.· ·Okay.· Fair enough.· Can you jump ahead to
        ·9· Exhibit 15 and tell me when you've pulled it from the
        10· pile?
        11· · · A.· ·I have it.
        12· · · Q.· ·Okay.· Let me represent to you that the
        13· documents contained in Exhibit 15 are similar to the
        14· documents that are set forth in Exhibit 24, which have
        15· been generally described to me as your FRS file.· So
        16· with that introduction, I just have some specific
        17· questions about Exhibit 15.· Just take a minute to flip
        18· through that and see if you recognize the documents
        19· which comprise Exhibit 15.· Tell me when you're done.
        20· · · A.· ·I did, and I -- there's pages on here that
        21· Randy Bauer signed.· I did not see these before.· So
        22· those are all -- I don't have copies of that.· Looks
        23· like everything else I've seen.
        24· · · Q.· ·All right.· So let me just identify -- let's
        25· just go by it from the top forward.· The first page of
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        ·1· Exhibit 15, you've seen that before, correct?
        ·2· · · A.· ·Yes.
        ·3· · · Q.· ·In the middle of the section, there's a space
        ·4· that says:· Member signature, sign in the presence of a
        ·5· notary.
        ·6· · · · · ·That's your signature; isn't it?
        ·7· · · A.· ·That's correct.
        ·8· · · Q.· ·And the notary that notarized your signature is
        ·9· Doreen Salvagno who was -- she was the FRS specialist at
        10· the LCSO, correct?
        11· · · A.· ·Correct.
        12· · · Q.· ·The date she's notarizing your signature is
        13· August 27, 2021.· Did you sign this document as part of
        14· your meeting with her on August 27th?
        15· · · A.· ·There's the date, yes.
        16· · · Q.· ·The next page, the second page of Exhibit 15,
        17· is another form notarized by Doreen Salvagno on the 27th
        18· of August.· Again, in the section called member
        19· signature, that's your signature, correct?
        20· · · A.· ·That's correct.
        21· · · Q.· ·The third page of Exhibit 15 is another form
        22· notarized by Doreen Salvagno on August 27, 2021, and the
        23· signature next to the field entitled Member Signature,
        24· that's also your signature, correct?
        25· · · A.· ·That's correct, and that was revised after
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        ·1· this.
        ·2· · · Q.· ·This Option 1 was --
        ·3· · · A.· ·Correct.· I switched to Option 2.
        ·4· · · Q.· ·Okay.· That may be in Exhibit 24.· We'll get to
        ·5· that.· The next page of Exhibit 15 is a spousal
        ·6· acknowledgment form.· At the top of the page in the
        ·7· field notarized signature of member, that's your
        ·8· signature again, correct?
        ·9· · · A.· ·Yes.
        10· · · Q.· ·With Doreen Salvagno notarizing your signature
        11· on August 27, 2021?
        12· · · A.· ·Correct.
        13· · · Q.· ·And it looks a couple days later, three days
        14· later, your husband signed on this acknowledgment form
        15· as well?
        16· · · A.· ·Yes.
        17· · · Q.· ·Were you present when he did that?
        18· · · A.· ·No.· I think he went there.
        19· · · Q.· ·Okay.
        20· · · A.· ·Because she signed it, so she -- I didn't go
        21· with him.
        22· · · Q.· ·So I'm going to skip the next several pages.
        23· If you go to the document part of Exhibit 15, which in
        24· the bottom right-hand corner is identified as
        25· Defendant's Bates No. 700.· Can you get to that page?
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        ·1· · · A.· ·I'm there.
        ·2· · · Q.· ·Is that the page you said you haven't seen
        ·3· before?
        ·4· · · A.· ·That's correct.
        ·5· · · Q.· ·All right.· And the rest of these appear to be
        ·6· copies of some faxes.· Can you go to page 703?
        ·7· · · A.· ·Okay.
        ·8· · · Q.· ·Have you seen that document before?
        ·9· · · A.· ·Yes.
        10· · · Q.· ·When did you first see this particular page
        11· 703 -- Defendant's Bates No. 703?
        12· · · A.· ·Well, it says at the top, created on the 23rd.
        13· · · Q.· ·Okay.· Is that when you --
        14· · · A.· ·She must have given it to me on the 27th, I
        15· would say.
        16· · · Q.· ·Okay.
        17· · · A.· ·But I'm not a hundred percent, so I'm pretty
        18· sure.
        19· · · Q.· ·When you say "she," are you referring to
        20· Doreen?
        21· · · A.· ·Yes.· Doreen would have printed that.
        22· · · Q.· ·Okay.
        23· · · A.· ·I think it could have been Dawn.· I don't know.
        24· But I do have a copy.
        25· · · Q.· ·As I understand, Defendant's Bates No. 703,
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         ·1· this is a statement of what your -- essentially your
         ·2· retirement benefit is going to be based upon your
         ·3· anticipated separation date of September 3, 2021,
         ·4· correct?
         ·5· · · A.· ·Yes.· I got this before I actually retired.
         ·6· · · Q.· ·Okay.· Then continuing on with the pages to the
         ·7· next page, Defendant's Bates No. 704, the top of that
         ·8· sheet in the field called Signature of Payee.· That's
         ·9· your signature again dated October 1, 2021?
         10· · · A.· ·Yes.
         11· · · Q.· ·Is this another document that you had to go
         12· back in to sign with Doreen at the beginning of October,
         13· or did you sign it on that day in August when you
         14· visited her office, if you know?
         15· · · A.· ·Originally, I was going to have the option for
         16· my husband to be under the insurance of the sheriff's
         17· office so I wouldn't have to pay, but I later changed it
         18· so I would have a higher option in No. 2 without paying
         19· for it.
         20· · · Q.· ·Okay.· Can you pull out Exhibit 24?· And for
         21· the record, while you're pulling it out, I'll reference
         22· that Exhibit 24 is Plaintiff's Bates Nos. 15 through 28.
         23· · · A.· ·Yes, I have it.
         24· · · Q.· ·All right.· I'm going to try to skip over what
         25· I've already asked you about which are replicated here.
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         ·1· Can you turn to what is referenced as Plaintiff's Bates
         ·2· No. 18?
         ·3· · · A.· ·Yes.
         ·4· · · Q.· ·So this particular page that was not part of
         ·5· the other packet that I had -- so what is happening with
         ·6· this particular page?· Can you explain it?
         ·7· · · A.· ·This is what I was talking about.· That was my
         ·8· insurance for my husband, I think is what that is.
         ·9· · · Q.· ·Okay, which shows a coverage period of 9/5/2021
         10· through 9/30/2021 and life insurance -- or retiree life
         11· insurance through December 31, 2021 for an amount due of
         12· $480.85; is that right?
         13· · · A.· ·Yes.
         14· · · Q.· ·And is that something that you reviewed with
         15· Doreen Salvagno when you met with her on August 27,
         16· 2021?
         17· · · A.· ·Yes.
         18· · · Q.· ·All right.
         19· · · A.· ·This is the health insurance for my husband,
         20· and I couldn't afford it.
         21· · · Q.· ·Okay.· The next page, Bates -- Plaintiff's
         22· Bates Nos. 19 and 20, that's just a summary of the
         23· benefits of life insurance.· Is this for your husband or
         24· for you?
         25· · · A.· ·I think that's me.
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         ·1· · · Q.· ·Okay.· Shows effective date of October 1, 2013
         ·2· in the amount of $5,000, correct?
         ·3· · · A.· ·Correct.
         ·4· · · Q.· ·And then the next page, which is Plaintiff's
         ·5· Bates 21, is another statement to you for Retiree &
         ·6· Dependents - Medical, Dental, Vision, Month of October
         ·7· 2021 in the amount of $551.26; is that right?
         ·8· · · A.· ·That's correct.
         ·9· · · Q.· ·There is no check attached to this, so did you
         10· stop and is that when you made the change not to pay
         11· this amount?
         12· · · A.· ·Yes.· When I saw how much it was going to be, I
         13· said, I can't afford this, so I just took him off the
         14· insurance.
         15· · · Q.· ·Okay.· The next page, Plaintiff's Bates No. 22
         16· says:· Retiree -- is entitled:· Retiree worksheet for
         17· medical benefits information only, October 2020 through
         18· September 2021.· It's got your name with a date of
         19· August 23, 2021 with a retire date of September 4, 2021.
         20· Did you review this document with Doreen Salvagno when
         21· you met with her on August 27th?
         22· · · A.· ·Yes.
         23· · · Q.· ·For lack of a better description, does this
         24· summarize sort of the cost of additional medical
         25· benefits and what amount you would have to pay for your
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         ·1· continued coverages once you retired?
         ·2· · · A.· ·Yes.
         ·3· · · Q.· ·The very last page of Exhibit No. 24, which is
         ·4· Plaintiff's Bates page 28, is an individual life
         ·5· conversion Request for Information Form.· Do you know
         ·6· what this is?
         ·7· · · A.· ·I think this is when I was employed, if you
         ·8· were in the Caesar class, you received double your
         ·9· salary as a life policy.· I'm thinking that's what this
         10· is.
         11· · · Q.· ·Okay.
         12· · · A.· ·Because I'm not sure -- this is like a
         13· termination of that policy.
         14· · · Q.· ·And is the -- if you recall, what opportunity,
         15· if any, did you have to continue this policy in effect
         16· at your own cost after you retired?
         17· · · A.· ·I don't recall.
         18· · · Q.· ·Okay.· So for what period of time do you
         19· recall, Ms. Clark, did AnnMarie Reno assess or give you
         20· an annual performance evaluation for your role as
         21· purchasing director of the LCSO?
         22· · · A.· ·Once a year.· It wasn't always on my
         23· anniversary date, but normally, I got them every year.
         24· · · Q.· ·And how long -- I mean, if I look back to
         25· almost 2011 or 2012, it looks like it was AnnMarie
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         ·1· Reno who evaluated your performance on an annual basis,
         ·2· and I think that there was one year that William
         ·3· Bergquist evaluated your performance; is that right?
         ·4· · · A.· ·If that's what you have.· I don't recall, but
         ·5· it sounds right.
         ·6· · · Q.· ·And did you have any issues working under the
         ·7· supervision of William Bergquist for the period he
         ·8· supervised you?
         ·9· · · A.· ·No, sir, I did not.
         10· · · Q.· ·Did you have any issues working under the
         11· supervision of AnnMarie Reno during the period she
         12· supervised your employment?
         13· · · A.· ·No.· No, sir, I did not.
         14· · · Q.· ·Let me quickly look at some of the
         15· documentation concerning those evaluations.· Can you
         16· pull up Exhibit 10?
         17· · · A.· ·Okay.· I have it.
         18· · · Q.· ·So Exhibit 10 is Defendant's Bates pages 597
         19· through 599.· It appears to be an annual evaluation form
         20· for you as purchasing manager for the rating period of
         21· June 5, 2011 to June 4, 2012 with an overall rating by
         22· AnnMarie Reno of exemplary performance.
         23· · · · · ·Do you see that?
         24· · · A.· ·Yes.
         25· · · Q.· ·And was it typical when AnnMarie Reno gave you
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         ·1· your annual performance evaluation as purchasing
         ·2· director, would she actually meet with you and discuss
         ·3· the evaluation or was it more something that was
         ·4· exchanged say via email?
         ·5· · · A.· ·No.· We had all of them like this.
         ·6· · · Q.· ·I'm sorry?
         ·7· · · A.· ·They were all -- are you talking about a form?
         ·8· · · Q.· ·No.· I'm talking about when it was delivered to
         ·9· you, was it something she would sit down and talk to you
         10· about and give it to you and talk about it, or was it
         11· something she would email to you and then you would
         12· review it separately?
         13· · · A.· ·No.· We would sit down in her office.
         14· · · Q.· ·Okay.· So with respect to Exhibit 10, I'll
         15· direct you to the final page.· Is the final page that's
         16· entitled:· Official career and counseling plan, is the
         17· final page of Exhibit 10, is that something that you
         18· completed yourself?
         19· · · A.· ·Yes.
         20· · · Q.· ·All right.· So that was something that you
         21· would have prepared and then attached to your annual
         22· evaluation for that period?
         23· · · A.· ·Yeah.· It looks like the rating period is a
         24· little off; isn't it?
         25· · · Q.· ·Yeah, maybe a typo.· I've made a few of those
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         ·1· myself.
         ·2· · · A.· ·Yes.· You had to -- because she would attach
         ·3· them, and then our system changed on our evaluations, so
         ·4· she would like them to be emailed so then she could
         ·5· attach them, but I guess there was a time though that we
         ·6· would have to sign into her computer to proof it, and
         ·7· then they would print it, and then she'd get a copy.
         ·8· · · Q.· ·Okay.
         ·9· · · A.· ·Normally, she always -- she always -- I always
         10· did when I evaluated.· I always sat down with the
         11· person, talked about it, then evaluated; but she usually
         12· evaluated ahead of time.· It's like pushing a button
         13· like to file it, and then the number pops up.
         14· · · Q.· ·Let me get you to turn to Exhibit 11.· Can you
         15· pull that out and get it in front of you and tell me
         16· when you've got it?
         17· · · A.· ·Okay.
         18· · · Q.· ·Exhibit 11 is Defendant's Bates page 591, pages
         19· 591 to 596, which purport to be your annual evaluations
         20· for the rating period June 5, 2012 to June 4, 2013.· And
         21· this appears to have been done by William Bergquist with
         22· an overall rating of exemplary performance.
         23· · · · · ·Do you see that?
         24· · · A.· ·Yes.
         25· · · Q.· ·Do you recall why it is that William Bergquist
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         ·1· is doing your annual evaluation for this rating period,
         ·2· and the prior period, AnnMarie Reno did it?
         ·3· · · A.· ·I think she might have asked him because she
         ·4· didn't have time.· I don't know.
         ·5· · · Q.· ·And the final page of Exhibit 11, which is
         ·6· Defendant's Bates No. 596, it looks like a handwritten
         ·7· official career and counseling plan.· Is all the
         ·8· handwriting on that document yours?
         ·9· · · A.· ·Yes.
         10· · · Q.· ·Okay.· Can you turn to Exhibit No. 12.· Tell me
         11· when you're there.
         12· · · A.· ·I'm there.
         13· · · Q.· ·So for the record, this is Defendant's Bates
         14· pages 567 through 590.· Tell me when you're done looking
         15· it over.· I don't want to ask you questions while you're
         16· still looking at it.
         17· · · A.· ·Okay.· I'm not completely done, but go ahead.
         18· · · Q.· ·All right.· Well, I want to start with the back
         19· of that document because it kind of goes
         20· backwards/forward to more recent evaluations.· So if you
         21· turn to Defendant's Bates pages 588 through 590, would
         22· you agree that this is your annual evaluation for the
         23· rating period of 2013 to 2014?
         24· · · A.· ·That's what it says.
         25· · · Q.· ·So it appears that the evaluation form has
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         ·1· changed from the ones we looked at earlier, and the
         ·2· second page of this particular 2013-2014 evaluation
         ·3· looks like it has got a field for career counseling
         ·4· plan.· Do you see it in the second page about -- towards
         ·5· the top half.· It has got short-term goals and long-term
         ·6· goals.
         ·7· · · A.· ·Yes.
         ·8· · · Q.· ·Is that information in the short-term goal and
         ·9· long-term goal information that you would have inserted
         10· into this form?
         11· · · A.· ·Yes.
         12· · · Q.· ·Okay.· And then going to the next evaluation,
         13· which are Bates pages 585 through 587 for the rating
         14· period of 2014 to 2015 with the same question, is the
         15· career counseling plan information as inserted into the
         16· second page of this evaluation information you would
         17· have inserted into that form?
         18· · · A.· ·Yes.
         19· · · Q.· ·If you go to the next evaluation, which is
         20· Defendant's Bates pages 582, 584, rating period for the
         21· period of 2015-16, the second page of that form again
         22· has career counseling plan with some comments inserted.
         23· Are those comments inserted by you?
         24· · · A.· ·Yes.
         25· · · Q.· ·Can I ask you a question on the second comment
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         ·1· that you've got there on the short-term goal?· It says:
         ·2· See the new Tyler System implemented.
         ·3· · · · · ·What's the Tyler System?
         ·4· · · A.· ·That was a whole new software that entitled --
         ·5· incorporating finance, purchasing, benefits, HR.· I'm
         ·6· trying to think what else.
         ·7· · · Q.· ·So that was an agency-wide software program
         ·8· that was new --
         ·9· · · A.· ·Yes.
         10· · · Q.· ·-- as of that period?
         11· · · A.· ·Uh-huh.· It was -- it took about two, two and a
         12· half years to implement it from start to finish.
         13· · · Q.· ·Okay.· All right.· Let's go to the evaluation
         14· for 2016-2017, which is Defendant's Bates 579 through
         15· 581.· On the second page of that form, which is Bates
         16· page 580, the career counseling plan comments, those are
         17· comments that you inserted into the rating form,
         18· correct?
         19· · · A.· ·Yes.
         20· · · Q.· ·Going to the next evaluation, which is for the
         21· rating period of 2017 to 2018, is Defendant's --
         22· · · A.· ·Wait.· Let me add one thing.· I believe around
         23· this time period, they changed the rating scale from
         24· either these standards or required improvement.· I don't
         25· think that it's both.· I mean, I don't think it was all
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         ·1· the other ones anymore, EP.· I think this might have
         ·2· been the year that it started.
         ·3· · · Q.· ·Yeah, I believe you're right.· I think that was
         ·4· the change.
         ·5· · · A.· ·I think that's what started the change, so it
         ·6· makes it look like I'm not getting EPs anymore, but I
         ·7· think it's -- they're almost the same.
         ·8· · · Q.· ·Yeah.· I think beginning in 2016-2017, MS, or
         ·9· meets standards, was the highest rating you could get.
         10· · · A.· ·Correct.
         11· · · Q.· ·I agree with you.
         12· · · A.· ·I wanted to point that out.
         13· · · Q.· ·Thank you.· So the next evaluation for '17-'18
         14· is Bates pages Defendant's 576 through 578.· Again, the
         15· second page, the career counseling plan comments, those
         16· are comments that you inserted into the form, correct?
         17· · · A.· ·Yes.
         18· · · Q.· ·And then continuing with this particular
         19· exhibit, Bates pages 573 to 575, is your annual
         20· evaluation for the period 2018 to 2019.· And my only
         21· question is, again, the comments inserted into the form
         22· in the section of career counseling plan, those are
         23· comments that you inputted into the form, correct?
         24· · · A.· ·Yes.
         25· · · Q.· ·The next --
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         ·1· · · A.· ·By the way, the Tyler is a Munis.· That was
         ·2· what was implemented, the one that you were asking me
         ·3· about.
         ·4· · · Q.· ·Oh, yeah.· Okay.
         ·5· · · A.· ·The system.
         ·6· · · Q.· ·So the next evaluation in this Exhibit 12 is
         ·7· Bates pages 570 to 572, which is your annual evaluation
         ·8· for the period of 2019 to 2020.· My only question again
         ·9· is to confirm that the comments inserted in the career
         10· counseling plan on the second page of the form is -- are
         11· comments that you added to the form, correct?
         12· · · A.· ·It looks almost identical to the other one.
         13· · · Q.· ·Is it?
         14· · · A.· ·So I don't know, but probably because it kind
         15· of looks the same.
         16· · · Q.· ·Certainly is similar.
         17· · · A.· ·Yeah, I was going to say that.
         18· · · Q.· ·All right.· I think the final one is for the
         19· period of June 5, 2020 to June 4, 2021, Bates No. 567 to
         20· 569.· The specific comments in the second page of the
         21· form in the section entitled career counseling plan,
         22· those are comments that you inserted into the form?
         23· · · A.· ·Yes.
         24· · · Q.· ·The short-term goal section, in a
         25· parenthetical, you've got (Hurricane IMT).· What does
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         ·1· that stand for?
         ·2· · · A.· ·To train the other people to do what I did.
         ·3· That is -- emergency management team is what that is.
         ·4· · · Q.· ·Does that IMT
         ·5· ·stand for emergency management team?
         ·6· · · A.· ·No, not emergency.· It's -- dang, what's the I
         ·7· stand for?· Anyway, it's the team that gets together --
         ·8· it's a class you have to take for anything that's
         ·9· emergency or hurricane or anything devastating.· In the
         10· role that I was as director, I needed to train Shannon
         11· to make sure -- and AnnMarie was so adamant about get
         12· these -- train them on everything, train them on
         13· everything, especially hurricane stuff.· So I did a
         14· whole book before I left, and I had everything for them.
         15· And that was probably a month before I left, I had
         16· everything there for them.
         17· · · Q.· ·Okay.
         18· · · A.· ·So they would know what to do.
         19· · · Q.· ·So you did complete that before you left?
         20· · · A.· ·Oh, yes, absolutely.
         21· · · Q.· ·Thank you.· Can you pull out Exhibit 14?· Do
         22· you have it?
         23· · · A.· ·I do.
         24· · · Q.· ·Have you seen this before?
         25· · · A.· ·Only like very recent.
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         ·1· · · Q.· ·So you did not see it while you were
         ·2· employed --
         ·3· · · A.· ·Absolutely not, no.· You see the date?         I
         ·4· wasn't even there.
         ·5· · · Q.· ·I understand.· Do you have any recollection of
         ·6· interactions with AnnMarie Reno concerning the subject
         ·7· matter of this memo?
         ·8· · · A.· ·Yeah, but not the way that it's currently
         ·9· worded.
         10· · · Q.· ·Just tell me what you remember about your
         11· communications with AnnMarie Reno about this subject
         12· matter.
         13· · · A.· ·I don't remember anything about most of it, but
         14· she's talking about -- how do I want to say -- the VOICE
         15· volunteer turning into the civilian support unit, we've
         16· talked about that, yes.· But I don't recall any kind of
         17· insubordination about anything like this.· I didn't act
         18· like that.· I wasn't that way.· And the thing that she
         19· has got in there, I do recall that, but I didn't --
         20· she's more of a different personality than me.· She's a
         21· bit overbearing, so I have to argue with that, that I
         22· did not try to intimidate or do anything with her, talk
         23· over her.· I might have had questions for her because
         24· she was taking that project, and I think I wanted to be
         25· involved more than I was.· But I was very excited.· That
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         ·1· was a long-term goal that I wanted done for many, many
         ·2· years, and I was very happy that it was going to get
         ·3· done, even if it was her doing it.
         ·4· · · Q.· ·So what do you remember, if anything, about the
         ·5· inventory or the request to get the inventory reduced on
         ·6· certain of these I guess shirts and other things related
         ·7· to VOICE, I guess?
         ·8· · · A.· ·It was my responsibility and Shannon's
         ·9· responsibility to clean out the old storage room because
         10· the new stuff had come in.· We were still utilizing
         11· those clothes for the existing people in addition to
         12· before -- well, they were getting the old stuff before
         13· we got the new in.· So there wasn't any reason to get
         14· rid of them as -- get rid of them now.· I mean, she made
         15· it out to be a big deal.· It wasn't that big a deal.          I
         16· think she just had to write something up about me when I
         17· left.· This is crazy.· I never saw anything about it.
         18· · · Q.· ·So other than just daily sort of what I would
         19· call normal interactions with AnnMarie Reno, you don't
         20· recall having a specific communication with her about
         21· the topic of this memo, correct?
         22· · · A.· ·She never showed me this memo.· I was there on
         23· the 16th.· When she says on Monday, she walked down to
         24· purchasing to inquire about the project moving along, I
         25· was there.· I might have been at lunch, but I was in the
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         ·1· office.· I worked on the 16th and the 17th.· So for her
         ·2· to say that I wasn't there -- and she talks to everybody
         ·3· else -- is just kind of a -- trying to get a bad comment
         ·4· on me as to terminate me.
         ·5· · · Q.· ·All right.· Let me ask you to turn to
         ·6· Exhibit 20, which for the record, is Defendant's Bates
         ·7· pages 4386 to 4412, tell me when you're there.
         ·8· · · A.· ·I'm here.· Did you give me the page number?
         ·9· · · Q.· ·I was just identifying for the record the pages
         10· of Exhibit 20.
         11· · · A.· ·Okay.
         12· · · Q.· ·So do you recognize Exhibit 20?
         13· · · A.· ·It's an old inspection, it looks like.
         14· · · Q.· ·Yeah.· My understanding is this was a workload
         15· assessment and staff inspection conducted on the
         16· purchasing department in October of 2020, correct?
         17· · · A.· ·Correct.
         18· · · Q.· ·And it's my further understanding that you were
         19· the principal liaison with the person conducting the
         20· analysis and inspection for the purchasing --
         21· · · A.· ·Correct.
         22· · · Q.· ·And it's my further understanding that while
         23· recommendations were made to hire two additional
         24· purchasing agents, that that recommendation was not
         25· approved, so no additional hires were made, correct?
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         ·1· · · A.· ·Correct.
         ·2· · · Q.· ·Okay.
         ·3· · · A.· ·But it wasn't my recommendation.· I gave that
         ·4· to the budget director for her to see that we needed
         ·5· more people.
         ·6· · · Q.· ·Understand.· And that -- back in October of
         ·7· 2020 when the analysis was being conducted and the
         ·8· recommendations were being made, were you still using
         ·9· VOICE volunteers at that time in your department --
         10· · · A.· ·I'm sure we were.
         11· · · Q.· ·-- when needed?
         12· · · A.· ·Yes.
         13· · · Q.· ·Okay.· Can you look at Exhibit 23?· For the
         14· record, this is Plaintiff's Bates pages 13 and 14.· Do
         15· you recognize this?
         16· · · A.· ·I have it.· Yes.
         17· · · Q.· ·What is it?
         18· · · A.· ·It's a bunch of junk that was in my desk that
         19· the girls bagged up and forgot to give it to me when I
         20· picked up my stuff.
         21· · · Q.· ·Oh, okay.
         22· · · A.· ·It's nothing in here.· It's just -- like in a
         23· junk drawer.
         24· · · Q.· ·Did you get these documents returned to you?
         25· · · A.· ·Yes.
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         ·1· · · Q.· ·And Julianna Wilson, that's your daughter?
         ·2· · · A.· ·Yes.· That is the wrong daughter though because
         ·3· she's in North Carolina.· It was Jami that brought it to
         ·4· me.
         ·5· · · Q.· ·Okay.· All right.· I just wanted to ask you
         ·6· about the list because it was given to us as part of
         ·7· your documentation.
         ·8· · · A.· ·Okay.
         ·9· · · Q.· ·I've got a couple more documents I want to
         10· review with you, but this is a good time for a break.
         11· · · · · ·MR. STEFANY:· So let's take ten minutes.
         12· · · · · ·THE DEPONENT:· Okay.
         13· · · · · ·MR. MACDONALD:· Sounds good.
         14· · · · · ·MR. STEFANY:· I'll finish up with about three
         15· · · more documents.
         16· · · · · ·THE DEPONENT:· Thank you.
         17· · · · · · · · · · · · · (Recess)
         18· BY MR. STEFANY:
         19· · · Q.· ·Ms. Clark, can you pull out Exhibit 25?
         20· · · A.· ·Okay.
         21· · · Q.· ·Do you recognize this document?
         22· · · A.· ·Yes.
         23· · · Q.· ·For the record, this is a copy of the amended
         24· complaint that is pending before the federal court in
         25· your lawsuit against Sheriff Marceno.· Did you review
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         ·1· this amended complaint before it was filed with the
         ·2· court?
         ·3· · · A.· ·Yes.
         ·4· · · Q.· ·And in reviewing the complaint, did you check
         ·5· to confirm that the statements made in the document as
         ·6· far as you knew were accurate and correct?
         ·7· · · A.· ·Yes.
         ·8· · · Q.· ·Let me go to page 4 of Exhibit 25, specifically
         ·9· paragraph 21.· So you assert that AnnMarie Reno had held
         10· supervisory authority over you, including but not
         11· limited to the power to hire, fire, demote and promote
         12· you and the ability to direct your work, correct?
         13· · · A.· ·Yes.
         14· · · Q.· ·So what period of time are you referring to
         15· there?· I know when it ended.· So it ended when you left
         16· your employment with the LCSO.· When did it begin?
         17· · · A.· ·I don't recall.· Ever since she was over my
         18· department.· She was always under the bureau, and then
         19· when she took over in Bill's position, I think that
         20· that's when she was -- I don't know, whatever it was,
         21· 2012?· It was probably before that.
         22· · · Q.· ·So in making this statement in paragraph 21 of
         23· your amended complaint, is it your understanding that
         24· Ms. Reno was the decisionmaker in eliminating your
         25· position as purchasing director?
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         ·1· · · · · ·MR. MACDONALD:· Objection; form.
         ·2· BY MR. STEFANY:
         ·3· · · A.· ·No.
         ·4· · · Q.· ·Whose decision was it as best you understand?
         ·5· · · · · ·MR. MACDONALD:· Objection; form.
         ·6· BY MR. STEFANY:
         ·7· · · A.· ·I would have said it's the sheriff in -- the
         ·8· undersheriff, Holloway.
         ·9· · · Q.· ·Okay.· And what is that understanding based on?
         10· · · A.· ·Because I know how -- what goes on over there.
         11· She has always said if we were asked to do something and
         12· I didn't agree with something, she said he's the
         13· sheriff, and if that's what the sheriff wants, that's
         14· what we're doing.· So if the sheriff wanted that done,
         15· if -- it would have been told to her that she would
         16· eliminate my position.
         17· · · Q.· ·And what role -- or what's your understanding
         18· of the basis that the undersheriff was involved in
         19· making the decision to eliminate or recommend
         20· eliminating your position?
         21· · · A.· ·He pretty much makes all the decisions.
         22· · · Q.· ·Decisions or recommendations; is that your
         23· testimony?
         24· · · A.· ·Okay.· You could say recommendations or
         25· decisions, yes.
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         ·1· · · Q.· ·Let me refer you to paragraph 22 through 24 of
         ·2· your complaint, which is on page 5 of Exhibit 25.
         ·3· Review those comments to yourself just a second, and
         ·4· tell me when you're done.
         ·5· · · A.· ·Okay.
         ·6· · · Q.· ·So with respect to paragraphs 22 and 23, my
         ·7· understanding is back in 2019, you had to undergo a
         ·8· certain surgical procedure and recuperate from that
         ·9· surgery, so you sought leave from your scheduled work as
         10· purchasing director for that purpose?
         11· · · A.· ·Correct.
         12· · · Q.· ·You sought leave from AnnMarie Reno, and it was
         13· approved, correct?
         14· · · A.· ·Correct.
         15· · · Q.· ·And do you remember how long approximately you
         16· were out before you returned?
         17· · · A.· ·It was five weeks.
         18· · · Q.· ·And in paragraph 24, you say:· After you
         19· returned from surgery, Ms. Reno began to make comments
         20· which included, quote, you should look into going on
         21· disability, close quote.
         22· · · · · ·Can you describe for me when or the context
         23· within which that comment was allegedly made?
         24· · · A.· ·It was one of the times that I went down to her
         25· office either to discuss work or just going to have
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         ·1· conversations with her about job duties or whatever.
         ·2· And she just -- we're sitting face to face, like you and
         ·3· I, and she said this to me.· And she said -- and I
         ·4· looked at her because her words were:· You should look
         ·5· into going on disability.· In other words, like I will
         ·6· help you with that.· And I was confused.· And I said,
         ·7· for what, I'm not disabled.· She looked at me and she
         ·8· gestured, for all of that, and she waved it over my
         ·9· chest.
         10· · · Q.· ·Okay.· So at the time she allegedly made this
         11· comment to you, it was still 2019?
         12· · · A.· ·Yes.
         13· · · Q.· ·And what did you say in response, if anything?
         14· · · A.· ·I said, for what?· I'm not -- I just looked at
         15· her.· I don't even remember if I had a comment.
         16· · · Q.· ·Okay.· And was anything else said at that time
         17· or during that conversation other than what you've got
         18· alleged here?
         19· · · A.· ·That's all I recall, but if I could back up, I
         20· can tell you what happened after when I was on leave,
         21· and she was trying to help me come back, and she was
         22· doing an intermittent.· She said:· I'll get you back in,
         23· and if you're tired, you can go home, and you can work
         24· so many hours and do that.· So she was going to get with
         25· Dawn.· So she tried getting with Dawn, and they went
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         ·1· back and forth, and then it was kind of like happening.
         ·2· And then she called me back and said:· No, we can't do
         ·3· that.· You just have to either come back or not come
         ·4· back.· Basically, we can't have you working part of the
         ·5· day and not part of the day.· Well, I know other people
         ·6· have done that as far as people that have been employed.
         ·7· It has been done, but they did not let me do that.
         ·8· · · · · ·And the other comment that was very offensive
         ·9· was at the time, there was a scan project going on in
         10· records.· And anybody that was on -- on sick time or
         11· modified duty because they had a certified position
         12· where they had to be -- they couldn't fulfill their
         13· duties, but they were able to work -- they were
         14· scanning.· She was going to put me in the scan room.
         15· · · · · ·I said:· Why are you putting me in the scan
         16· room?
         17· · · · · ·I was so upset.· I said:· I have a perfectly
         18· good desk.· I can sit at my desk.· I'm not doing
         19· anything physical.
         20· · · · · ·And that's why I came back in five weeks.· My
         21· doctor signed off on it, and I came back in five weeks
         22· because she was trying to target me as not the same as
         23· the other directors or other executive employees to go
         24· in the scan room and scan all day.· That was a big waste
         25· of my time and the department's time.
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         ·1· · · Q.· ·So when you were making comments or references
         ·2· to this discussion with AnnMarie about intermittent
         ·3· leave, is that something that occurred prior to your
         ·4· surgery or after your surgery?
         ·5· · · A.· ·No, this was after my surgery.
         ·6· · · Q.· ·But prior to you returning full time, whenever
         ·7· it was you did?
         ·8· · · A.· ·Yes.
         ·9· · · Q.· ·And then the possibility of doing the scanning
         10· job that you're referencing, that's the job in
         11· records --
         12· · · A.· ·Correct.
         13· · · Q.· ·-- that is conducted to preserve records needed
         14· by the agency?
         15· · · A.· ·Yes.
         16· · · Q.· ·And that's a job, as I'm understanding your
         17· testimony, that's a job that a lot of times certified
         18· members of the agency that need light duty are assigned
         19· to do to get them contributing something on a light-duty
         20· fashion, right?
         21· · · A.· ·Correct.
         22· · · Q.· ·Okay.
         23· · · A.· ·Being productive, not taking all of their sick
         24· time, and then also helping the scan room out.
         25· · · Q.· ·In paragraph 26, you say:· Soon thereafter,
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         ·1· Reno began making comments about Ms. Clark's salary and
         ·2· retirement benefits.· These comments included but were
         ·3· not limited to, quote, you know, we pay 30 percent of
         ·4· your salary to the FRS, right, close quote, and comments
         ·5· of a similar nature.
         ·6· · · · · ·Do you see that?
         ·7· · · A.· ·Yep.
         ·8· · · Q.· ·So can you give me the context of any of the
         ·9· comments that you're referencing in paragraph 26 when
         10· Ms. Reno allegedly made those comments to you?
         11· · · A.· ·The same situation where I was in an office and
         12· we were talking about business, and it would come out of
         13· the blue.· She said that to me a couple of times.· And I
         14· was like, well, everybody else gets -- I don't think I
         15· said it to her, but I may have -- everybody else that's
         16· on the -- as the directors, they all -- they pay
         17· everybody 30 percent, not just me.
         18· · · Q.· ·Okay.· And when -- do you have any idea
         19· temporally when those alleged comments were made to you
         20· by Ms. Reno?
         21· · · A.· ·2020.· That's all I can recall.
         22· · · Q.· ·Okay.
         23· · · A.· ·I had actually came back to the office, and I
         24· told the manager that.· I said, do you believe this is
         25· what she told me?
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         ·1· · · · · ·I couldn't believe it.
         ·2· · · Q.· ·When you say the manager, that's Shannon
         ·3· Lehman?
         ·4· · · A.· ·Correct.
         ·5· · · Q.· ·Paragraph 27 of your amended complaint says,
         ·6· and I quote, Reno made these discriminatory comments
         ·7· towards Ms. Clark with the implication that Ms. Clark
         ·8· was being overcompensated or somehow was not deserving
         ·9· of her retirement benefits.· I think of is misspelled.
         10· · · · · ·Is that your belief or is that just argument?
         11· I'm just trying to figure out --
         12· · · A.· ·That is what I felt like.
         13· · · Q.· ·Okay.· Paragraph 30, you're referencing a sick
         14· leave request.· That's the request to have the surgery
         15· in August of 2021, correct?
         16· · · A.· ·Correct.
         17· · · Q.· ·You reference -- in paragraph 30, you reference
         18· Dawn Heikkila.· And as of -- let me just say the date --
         19· in August of 2021, and let's use a specific day,
         20· August 23, 2021, when you met with her, did you consider
         21· Dawn Heikkila a friend?
         22· · · A.· ·Well, we've known each other a long time.          I
         23· mean, we are work acquaintances, but yeah, I considered
         24· her a friend.
         25· · · Q.· ·Okay.
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         ·1· · · A.· ·I mean, when you work with people a long
         ·2· time -- you don't hang out.
         ·3· · · Q.· ·In paragraph 33, paragraphs 32, 33, you're
         ·4· stating Ms. Clark -- excuse me.· You're stating that
         ·5· Ms. Heikkila advised you to hold off on submitting any
         ·6· FMLA paperwork essentially suggesting in paragraph 33
         ·7· that they get back to it if necessary, but it ended up
         ·8· being it wasn't necessary to get back to the FMLA
         ·9· paperwork; isn't that right?
         10· · · · · ·MR. MACDONALD:· Objection; form.
         11· BY MR. STEFANY:
         12· · · A.· ·No, that's not true.
         13· · · Q.· ·How is that not right or how is that not true?
         14· Explain that to me.
         15· · · · · ·MR. MACDONALD:· Same objection.
         16· BY MR. STEFANY:
         17· · · A.· ·It's not true because she was going to do the
         18· paperwork if I needed that extra time, but she never did
         19· any paperwork.
         20· · · Q.· ·Okay.
         21· · · A.· ·Because I wasn't there.
         22· · · Q.· ·All right.· So this jumps ahead a little bit in
         23· Exhibit 25, but you asserted in Exhibit 25 a claim under
         24· the Family and Medical Leave Act.· And I know you're not
         25· a lawyer, so I'm not asking you a legal question.· I'm
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         ·1· trying to understand the basis that you understand that
         ·2· you have an FMLA claim arising out of the way
         ·3· Ms. Heikkila and the agency, in this case the LCSO,
         ·4· handled your request for sick leave.· So how --
         ·5· · · · · ·MR. MACDONALD:· Object to form.
         ·6· BY MR. STEFANY:
         ·7· · · Q.· ·Tell me your understanding of how -- what they
         ·8· did was different than what they were supposed to do
         ·9· under the law, if you understand that.· If you don't,
         10· tell me you don't understand it.
         11· · · · · ·MR. MACDONALD:· Same objection.
         12· BY MR. STEFANY:
         13· · · A.· ·Well, she should have done the paperwork when I
         14· sent it to her, but if she wasn't too busy, she would
         15· have done the paperwork.
         16· · · Q.· ·Were you aware of a practice at the LCSO that
         17· for exempt employees seeking FMLA leave of less than
         18· seven days, that the FMLA paperwork was typically not
         19· required?
         20· · · A.· ·It was actually three days.· After three days,
         21· she told me that's when they do the FMLA paperwork.          I
         22· don't know about the exempt part, but I know that was
         23· for regular employees, because I did it.
         24· · · Q.· ·When you say "she told me," is that Dawn that
         25· told you?
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         ·1· · · A.· ·Correct.
         ·2· · · Q.· ·When did she tell you that?
         ·3· · · A.· ·When I had other people out that were going to
         ·4· be longer than three days.
         ·5· · · Q.· ·People you supervised in purchasing?
         ·6· · · A.· ·Yes, in my staff.
         ·7· · · Q.· ·In paragraph 33, you say that your request for
         ·8· sick leave was nonetheless approved by both AnnMarie
         ·9· Reno and Dawn Heikkila, correct?
         10· · · A.· ·Yes.
         11· · · Q.· ·And it not only says that in your complaint,
         12· but that's the truth, that's what happened, right?
         13· · · A.· ·Yeah.
         14· · · Q.· ·Okay.· In paragraph 40 of your amended
         15· complaint, Exhibit 25, again, just to make sure I'm
         16· clear, the reference to academy positions that are being
         17· discussed there, that's reference to the communications
         18· call taker position?
         19· · · A.· ·Yes, sir.
         20· · · Q.· ·In paragraph 59 of your complaint, if you turn
         21· over a couple pages.
         22· · · A.· ·(Witness complies.)
         23· · · Q.· ·Are you on that page?
         24· · · A.· ·Yes.
         25· · · Q.· ·It says in part beginning with the second
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         ·1· sentence in paragraph 59:· The defendant's [sic]
         ·2· discriminatory treatment included, but was not limited
         ·3· to, making age-related disparaging remarks to plaintiff.
         ·4· · · · · ·When is the last age-related disparaging remark
         ·5· that a member of the LCSO made to you?
         ·6· · · A.· ·Well, I would say when Dawn said that it -- I
         ·7· took it as I couldn't retain memory, and attention to
         ·8· detail.· Like I couldn't learn anything because I was
         ·9· too old.
         10· · · Q.· ·Well, she didn't say you were too old; did she?
         11· · · A.· ·No, but it's the way it makes it sound.· That's
         12· how I took it.
         13· · · Q.· ·Let me just be clear to make sure you and I are
         14· communicating effectively.· I asked you specifically
         15· when was the last time someone at the LCSO made a
         16· disparaging age-related remark to you.· And you've
         17· identified your meeting with Dawn on August 23rd and
         18· about attention to detail.· I hear that.· Anything other
         19· than that?
         20· · · A.· ·I don't recall right now, but I might think of
         21· something later.
         22· · · Q.· ·Okay.· Are there any documents or notes that
         23· would reference or help you reference or remember any
         24· other age-related disparaging remarks?
         25· · · A.· ·Possibly, but I don't remember right now.
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         ·1· · · Q.· ·The next sentence -- or the next phrase is
         ·2· pressuring the plaintiff to go on disability or
         ·3· otherwise retire.
         ·4· · · · · ·What comments were made to pressure you to go
         ·5· on disability other than what you referenced earlier
         ·6· about what AnnMarie Reno said after you came back from
         ·7· your 2019 absence?
         ·8· · · A.· ·Only pressuring about retiring was when she
         ·9· would say to me:· Make sure if you train everybody, make
         10· sure everybody knows all of your work.· It's your job --
         11· train her on everything that you do.
         12· · · Q.· ·The next phrase says in paragraph 59:
         13· Preventing you from using your leave benefits.
         14· · · · · ·What are you referencing there?· Is that the
         15· August 2021 absence?
         16· · · A.· ·Yes.
         17· · · Q.· ·Anything else?
         18· · · A.· ·Not that I can recall right now.
         19· · · Q.· ·And the final part of that paragraph 59 says:
         20· Preventing you from applying for other employment
         21· positions with defendant.
         22· · · · · ·I understand your earlier testimony that on
         23· August 23, 2021, you allege that Dawn Heikkila indicated
         24· that there was no other position you could apply for; is
         25· that right?
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         ·1· · · A.· ·That is correct.
         ·2· · · Q.· ·Other than that, are you referring to anything
         ·3· other than what Dawn Heikkila allegedly told you on
         ·4· August 23rd?
         ·5· · · A.· ·And the letter that I received.
         ·6· · · Q.· ·Skipping over to paragraph 68 of your amended
         ·7· complaint, Exhibit 25, it states, and I quote, plaintiff
         ·8· engaged in a protected activity when she opposed the
         ·9· defendant's unlawful discriminatory conduct on the basis
         10· of her age.
         11· · · · · ·What are you referring to by way of your
         12· opposition to the defendant's unlawful discriminatory
         13· conduct on the basis of your age?
         14· · · · · ·MR. MACDONALD:· Objection; form.
         15· BY MR. STEFANY:
         16· · · A.· ·FMLA.
         17· · · Q.· ·I'm sorry?
         18· · · A.· ·FMLA.
         19· · · Q.· ·That's the FMLA request for your absence in
         20· August of 2021?
         21· · · · · ·MR. MACDONALD:· Objection; form.
         22· BY MR. STEFANY:
         23· · · A.· ·Protected activity is FMLA.
         24· · · Q.· ·I hear you say that.· I'm referring to is that
         25· the FMLA request that you made for your surgery in
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         ·1· August of 2021?
         ·2· · · A.· ·Yes.
         ·3· · · Q.· ·Anything else other than that?
         ·4· · · A.· ·I can't think of anything right now.
         ·5· · · Q.· ·In paragraph 83, you assert, and I quote,
         ·6· defendant violated the FMLA by unlawfully interfering,
         ·7· restraining, and denying plaintiff's use and/or
         ·8· attempted use of her leave benefit under the FMLA,
         ·9· specifically defendant instructed plaintiff not to
         10· submit FMLA leave requests and denied plaintiff's
         11· request to use her FMLA leave benefits in or around
         12· August of 2021, close quote.
         13· · · · · ·Is that an accurate description of what you
         14· alleged defendants did with respect to your August 2021
         15· leave request?
         16· · · · · ·MR. MACDONALD:· Objection; form.
         17· BY MR. STEFANY:
         18· · · A.· ·I didn't get any forms from them that they were
         19· going to do -- or any paperwork for FMLA at all.
         20· · · Q.· ·I understand that you did not get the forms,
         21· and we've already talked about that and some email
         22· communications that you had with Dawn Heikkila.· So in
         23· support of the accuracy of paragraph 83, who at the Lee
         24· County Sheriff's Office instructed you not to submit
         25· FMLA leave requests as you're referencing there?
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         ·1· · · · · ·MR. MACDONALD:· Objection; form.
         ·2· BY MR. STEFANY:
         ·3· · · A.· ·I'm confused.
         ·4· · · Q.· ·Can you identify a person who instructed you
         ·5· not to submit FMLA leave requests in August of 2021; yes
         ·6· or no?
         ·7· · · A.· ·I sent an email to Dawn, which is what we
         ·8· already talked about.· So what else was I supposed to
         ·9· do?
         10· · · Q.· ·Isn't it true, Ms. Clark, that Dawn Heikkila
         11· communicated to you that she would send you the forms if
         12· your leave of absence turned out to be needed for more
         13· than seven days?
         14· · · A.· ·Correct.
         15· · · Q.· ·Paragraph 84, you assert that you suffered or
         16· would continue to suffer financial and economic damages
         17· in the form of lost wages and lost benefits in light of
         18· the FMLA interference that you're complaining about.
         19· · · · · ·Can you identify for me what financial and
         20· economic damages you suffered because in this particular
         21· case you were put on paid administrative leave for your
         22· entire absence instead of FMLA?
         23· · · · · ·MR. MACDONALD:· Objection; form.
         24· BY MR. STEFANY:
         25· · · A.· ·I was terminated.
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         ·1· · · Q.· ·My question, Ms. Clark, is that you were put on
         ·2· paid administrative leave with pay or administrative
         ·3· leave with pay, whatever the phrase is, for the entire
         ·4· period of your requested absence; isn't that true?
         ·5· · · A.· ·Of my requested absence.· I didn't request to
         ·6· leave the department.
         ·7· · · Q.· ·Well, leave is a type of absence that's
         ·8· permitted, right?
         ·9· · · A.· ·Correct.
         10· · · Q.· ·I mean, you're familiar with that?
         11· · · A.· ·Yes.
         12· · · Q.· ·So you asked for sick leave for seven days to
         13· have your surgery and to recuperate from the surgery,
         14· correct?
         15· · · A.· ·Yes.
         16· · · Q.· ·And instead of using sick leave, you were given
         17· paid administrative leave for the entire period of your
         18· absence; isn't that right?
         19· · · A.· ·Yes.
         20· · · · · ·MR. MACDONALD:· Objection; form.
         21· BY MR. STEFANY:
         22· · · Q.· ·So can you identify for me what financial or
         23· economic damages you suffered due to the fact you were
         24· put on administrative leave with pay rather than on sick
         25· leave or FMLA?
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         ·1· · · A.· ·I can't answer that question.
         ·2· · · · · ·MR. MACDONALD:· Objection; form.
         ·3· BY MR. STEFANY:
         ·4· · · Q.· ·I can't hear you.· What was your answer?
         ·5· · · A.· ·I can't answer that question.
         ·6· · · Q.· ·The answer is none, isn't it?
         ·7· · · · · ·MR. MACDONALD:· Objection; form.
         ·8· BY MR. STEFANY:
         ·9· · · A.· ·(No response.)
         10· · · Q.· ·Let me ask it differently.· How would you have
         11· been better off if you had been put on sick leave and
         12· had to use sick leave out of your accrued leave bank?
         13· How does that make you economically better off?
         14· · · · · ·MR. MACDONALD:· Objection; form.
         15· BY MR. STEFANY:
         16· · · Q.· ·Can you answer that question, ma'am?
         17· · · · · ·MR. MACDONALD:· Same objection.
         18· BY MR. STEFANY:
         19· · · A.· ·No, I can't answer.
         20· · · Q.· ·In paragraph 93 of Exhibit 25, it states, and I
         21· quote, plaintiff engaged in a protected activity when
         22· she exercised and/or attempted to exercise her right to
         23· leave benefits under the FMLA and when she opposed the
         24· defendant's unlawful conduct and violation of the FMLA.
         25· · · · · ·My understanding from your complaint is that's
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         ·1· referencing again your leave request in August of 2021,
         ·2· correct?
         ·3· · · A.· ·Yes.
         ·4· · · Q.· ·Paragraph 95 says the defendant retaliated
         ·5· against you by engaging in conduct which includes
         ·6· eliminating your position.
         ·7· · · · · ·Is it your belief, Ms. Clark, that your
         ·8· position was eliminated because you requested a leave of
         ·9· absence to have surgery in August of 2021?
         10· · · A.· ·I don't know.
         11· · · · · ·MR. MACDONALD:· Objection; form.
         12· BY MR. STEFANY:
         13· · · Q.· ·Your answer is I don't know?
         14· · · A.· ·I don't know.
         15· · · · · ·THE DEPONENT:· Can I take a break?
         16· · · · · ·MR. STEFANY:· Yeah.· You need five minutes, ten
         17· · · minutes?· What do you need?
         18· · · · · ·THE DEPONENT:· Ten.
         19· · · · · ·MR. STEFANY:· So we'll return at 3:36.
         20· · · · · ·MR. MACDONALD:· Okay.· Perfect.
         21· · · · · · · · · · · · · (Recess)
         22· BY MR. STEFANY:
         23· · · Q.· ·Ms. Clark, let me get you to turn to
         24· Exhibit 27.· Tell me when you're there.
         25· · · A.· ·Okay.
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         ·1· · · Q.· ·For the record, Exhibit 27 is your response to
         ·2· defendant's first request for production of documents in
         ·3· the litigation against Sheriff Marceno.· Did you have a
         ·4· chance to review this response before it was served upon
         ·5· the sheriff's counsel?
         ·6· · · A.· ·Yes.· Not in this format, but, yes.
         ·7· · · Q.· ·So the documents that your attorney has
         ·8· produced identifying the initial disclosures that you
         ·9· generally described in Exhibit 1 to this deposition
         10· today constitutes 283 pages of documents as identified
         11· in your response to request No. 1.· Do you agree with
         12· that?
         13· · · A.· ·How many documents?
         14· · · Q.· ·283 documents.
         15· · · A.· ·Oh, I don't know the exact number.
         16· · · Q.· ·Okay.· Let me ask the question this way:· Are
         17· there any documents related to your claims that you have
         18· asserted against the sheriff in this case other than the
         19· documents which you and your attorney have produced in
         20· response to this request for production which appears as
         21· Exhibit 27?
         22· · · A.· ·I don't believe so.
         23· · · Q.· ·Can you pull out Exhibit 26?
         24· · · A.· ·Okay.
         25· · · Q.· ·For the record, this is your responses to the
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         ·1· sheriff's interrogatories which were served upon me as
         ·2· the sheriff's counsel of record in this case under
         ·3· certificate of service dated November 20, 2023.· Do you
         ·4· remember reviewing these responses to the
         ·5· interrogatories and signing them electronically on or
         ·6· about November 2023?
         ·7· · · A.· ·Yes.
         ·8· · · Q.· ·Let me just ask a couple of questions about
         ·9· some of the responses that you've given.· In response to
         10· Interrogatory No. 4, which appears as part of Exhibit
         11· 26, can you get to that answer?· These are not numbered
         12· pages, unfortunately.
         13· · · A.· ·Yes.
         14· · · Q.· ·Basically it's asking you about efforts to
         15· obtain employment with any employer since August 15,
         16· 2021 to the present.· In partial response, you say you
         17· began working with Works of Mimi, LLC in February of
         18· 2023; is that right?
         19· · · A.· ·Yes.
         20· · · Q.· ·So was that the first compensable earnings that
         21· you've had since retiring with the FRS on September 3,
         22· 2021?
         23· · · A.· ·No.
         24· · · Q.· ·What was the initial earnings that you had or
         25· what additional earnings have you had?
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         ·1· · · A.· ·My retirement.
         ·2· · · Q.· ·Okay.· Other than your retirement benefits.
         ·3· · · A.· ·Okay.· Nope.· That's -- I started a little
         ·4· business.
         ·5· · · Q.· ·Okay.· And how often since you started this
         ·6· residential painting business, how often -- well, I
         ·7· assume you started it.· You started it; is that true?
         ·8· · · A.· ·Yes.
         ·9· · · Q.· ·So since starting this residential painting
         10· business, is there any kind of regular hours that you
         11· are devoting to that effort since February of 2023 or is
         12· it sort of up and down?
         13· · · A.· ·Right, up and down, and I haven't made any
         14· money yet.
         15· · · Q.· ·Okay.
         16· · · A.· ·It's more like cost.
         17· · · Q.· ·Okay.· In response to Interrogatory No. 6, a
         18· couple pages later in Exhibit 26, can you get to that
         19· response and then I'll ask you a question?
         20· · · A.· ·That was the internal complaint.
         21· · · Q.· ·I'm sorry?
         22· · · A.· ·That was the internal complaint.
         23· · · Q.· ·Correct.· That's the topic of the
         24· interrogatory.
         25· · · · · ·So in your response there, you say in relevant
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         ·1· part, quote, plaintiff states that on or around
         ·2· August 23, 2021, you verbally opposed defendant's
         ·3· unlawful termination --
         ·4· · · · · ·That's referring to your job elimination,
         ·5· correct?
         ·6· · · A.· ·Yes.
         ·7· · · Q.· ·-- and Dawn Heikkila's assertion that there
         ·8· were no job opportunities available to you, as you've
         ·9· previously testified.
         10· · · · · ·You go on to say:· Plaintiff further opposed
         11· defendant's decision to deny her the opportunity to
         12· apply to known job openings and defendant's failure to
         13· afford you a grievance hearing prior to your
         14· termination?
         15· · · · · ·Tell me about this alleged failure to afford
         16· you a grievance hearing prior to your termination?· What
         17· is that about?
         18· · · A.· ·Well, I don't know a whole lot about it, but
         19· the Florida statute, you're supposed to be able to have
         20· a grievance for why you were terminated or why something
         21· happened.· I don't know the Florida statute, and I don't
         22· know that it isn't a grievance.
         23· · · Q.· ·Who did you speak with at the LCSO about
         24· wanting to file a grievance regarding your job
         25· elimination?
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         ·1· · · A.· ·Well, it's just that we had -- I didn't talk to
         ·2· anybody, but I know they're supposed to allow that.
         ·3· · · Q.· ·Okay.
         ·4· · · A.· ·If I was able to stay on like the other people,
         ·5· I could have applied in another state job like, you
         ·6· know, for as far as retirement, if I had the time to
         ·7· stay there and apply.· But since I had to retire, I
         ·8· couldn't -- it would have been pointless for me to go to
         ·9· another state job because I have already taken my
         10· retirement, plus the insurance.· I couldn't be without
         11· insurance.· I would have lost it.
         12· · · Q.· ·In interrogatory No. 12, the sheriff asked when
         13· you first communicated your request to take sick leave
         14· in August of 2021, and your answer is:· On August 12,
         15· 2021, you requested sick leave verbally from AnnMarie
         16· Reno and via email from Dawn Heikkila.
         17· · · · · ·But if I understand your testimony from earlier
         18· today, you may well have mentioned the need for leave to
         19· AnnMarie Reno as early as May of 2021; is that right?
         20· · · A.· ·That was for leave.· That's kind of for the
         21· FMLA was on the 12th.
         22· · · Q.· ·Okay.
         23· · · A.· ·But, yes, the request -- the initial -- the
         24· original request was way back.
         25· · · Q.· ·In May?· Way back meaning May of 2021?
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         ·1· · · A.· ·I'm not exactly sure of the date, but it was
         ·2· around the time of the scheduling of the surgery.
         ·3· · · Q.· ·Okay.· And it's your recollection that you
         ·4· scheduled the surgery when you visited with your doctor
         ·5· on the East Coast in May of 2021, correct?
         ·6· · · A.· ·Yes, scheduled it, and I had to go to our
         ·7· clinic to get all of the pretest done, and they had to
         ·8· be a month before the surgery.
         ·9· · · Q.· ·Ms. Clark, can I get to you look at Exhibit 5
         10· real quick?· It's a single sheet of paper.
         11· · · A.· ·Okay.
         12· · · Q.· ·There are a number of job class title positions
         13· that are shown on this summary, and this document is
         14· entitled:· Job class position control change orders.
         15· · · · · ·Have you seen this document before today?
         16· · · A.· ·No.
         17· · · Q.· ·All right.· Let me just direct you to the job
         18· class titles adjacent to the dates reflected in 2021.
         19· It starts with the replacement of the fleet director in
         20· November of 2021 going all the way back to the
         21· replacement of the SS&D administrator on January 10,
         22· 2021.
         23· · · · · ·Do you see that packet of job titles?
         24· · · A.· ·Yes.
         25· · · Q.· ·You made reference a couple of times today to
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         ·1· others who had more time than you did to make a decision
         ·2· to retire or not with the FRS.· Are there any
         ·3· individuals listed in 2021 that -- whose job title was a
         ·4· position held at the time where they were given more
         ·5· time than you were or they were treated more fairly than
         ·6· you in making that kind of decision?
         ·7· · · A.· ·Bill Bergquist is in that group.· I don't know
         ·8· about Lehman.· She might have been.· They're in that
         ·9· group.· It's all the ones down -- the bottom ones.· They
         10· are the ones that had two months.
         11· · · Q.· ·I'm just trying to make sure you're done.· I'm
         12· sorry.· I wasn't looking at you.
         13· · · · · ·So you are referring to people whose jobs were
         14· eliminated back in 2019 as being those that had longer
         15· to decide whether to retire or not; is that what you're
         16· saying?
         17· · · A.· ·Well, they actually had time to either get
         18· another job within the agency or they had the two
         19· months -- well, both.· They had the two months, a month
         20· severance, and a month of -- two months.· And then
         21· they -- some of them were in that group, and I don't
         22· know -- you know, some of them were after that.· I'm
         23· talking about the 2019 people.· But some people that you
         24· have that you got rid of these jobs, they remained in
         25· the sheriff's office and they were put in other
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         ·1· positions.
         ·2· · · Q.· ·I understand, and from a purposes of comparing
         ·3· what happened to you and what happened to them, I'm
         ·4· aware that they retained their employment and you
         ·5· didn't.· So if we looked at the folks you're referring
         ·6· to at the bottom of Exhibit 5 back in 2019, so there's
         ·7· this individual named JSchroth, retired.· Do you know
         ·8· who that is?
         ·9· · · A.· ·Yes.
         10· · · Q.· ·What's his first name?
         11· · · A.· ·John.
         12· · · Q.· ·So he was a senior trainer?
         13· · · A.· ·Yes, he was an older guy, too.
         14· · · Q.· ·Well, what do you personally know, if anything,
         15· about the specific circumstances of the sheriff's
         16· reorganization and the elimination of his job as senior
         17· trainer?
         18· · · A.· ·Can you say that again.
         19· · · Q.· ·Yeah.· What personal information do you have
         20· about the circumstances of his job elimination as senior
         21· trainer and his ultimate retirement, whenever that may
         22· have occurred, back in 2019?
         23· · · A.· ·Well, I can tell you that senior trainer is
         24· probably back now, so he's not in the job, but somebody
         25· else is.· Just because they say they get eliminated,
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         ·1· those positions, a lot of them came back.· Like all the
         ·2· clerks that they originally got rid of, they're all back
         ·3· in the system.· They brought them back.· They just got
         ·4· rid of the older people.
         ·5· · · Q.· ·So you're now talking about district clerks in
         ·6· July 31 of 2020?· Is that what you're talking about?
         ·7· · · A.· ·Yes, the clerks.· They have them back in there
         ·8· now.· Every district has a clerk.
         ·9· · · Q.· ·So what individual was any better as a district
         10· clerk than you claim you were treated with respect to
         11· your job elimination?
         12· · · A.· ·Well, it wasn't the same people.· They brought
         13· somebody else in those positions.· Those people are
         14· gone.
         15· · · Q.· ·Can you name one?
         16· · · A.· ·Name one that's gone?
         17· · · Q.· ·Yes.
         18· · · A.· ·Yes, I can name.· The clerk in each district,
         19· now they have clerks there.· I can't remember her name
         20· right this second, but I can probably get a list.
         21· · · Q.· ·So let me go back to John Schroth,
         22· S-c-h-r-o-t-h.· What information can you provide about
         23· his retirement or his job elimination, if anything?
         24· · · A.· ·He was an older guy.· That's all I know.· He
         25· was a nice guy, and I don't know why he didn't -- why
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         ·1· they eliminated his position, but I'm sure there's a
         ·2· senior trainer in something.
         ·3· · · Q.· ·The community outreach director that you're
         ·4· referring to, was that somebody that you claim was
         ·5· treated more favorably than you?
         ·6· · · A.· ·Let me think of the --
         ·7· · · Q.· ·This summary doesn't show that person's name.
         ·8· · · A.· ·I don't know what you're looking at.· Are you
         ·9· looking at this (indicating), the same paper you just
         10· gave me?
         11· · · Q.· ·Exhibit 5, yes.· Four up from the bottom.
         12· · · A.· ·That is Stacy Payne, and how she was replaced
         13· was a certified deputy hired as a captain, he's not
         14· there now though.· He's retired since.· But he -- they
         15· didn't -- they didn't take those positions and just
         16· eliminate them.· They called them something else and
         17· made the group bigger.· It's called CRUT, Community
         18· Response Unit.· So that's what was done.· Things where
         19· changed.· People, civilians, were eliminated, and then
         20· certified people took these positions which they could
         21· be done by as civilian, so it's cheaper, so I don't
         22· know.· The same with Andrew Presco.· He replaced her.
         23· · · Q.· ·Stacy Payne's packet or information concerning
         24· the elimination of her position, do you have any
         25· personal information about the circumstances of her
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         ·1· leaving the LCSO back in July of 2019?
         ·2· · · A.· ·She was in that whole big group.· That's the
         ·3· first initial people that they eliminated for
         ·4· reorganizing.
         ·5· · · Q.· ·Okay.· So let's just go down them.· You said
         ·6· the community outreach director is Stacy Payne.
         ·7· · · A.· ·Yes.
         ·8· · · Q.· ·The executive administrative assistant looks
         ·9· like a T. Taylor?
         10· · · A.· ·Yes, Terry Taylor.
         11· · · Q.· ·That was Sheriff Scott's assistant, right?
         12· · · A.· ·Correct.· And she was replaced by a captain,
         13· which is now a commander or a major, and he drives the
         14· sheriff around.· That's what he does.· He takes his
         15· calendar and he drives him to his appointments.
         16· · · Q.· ·The next person is the project director whose
         17· name was William Bergquist, correct?
         18· · · A.· ·Yes.· That was my job -- my boss.· Then
         19· AnnMarie took his job.· That's why she's my boss.· And
         20· then he went and did special projects, but he was still
         21· a director until he retired.· They didn't take him.
         22· They just moved him, but he was in that whole bunch, the
         23· 22 or so people.
         24· · · Q.· ·What information do you have with respect to
         25· the terms or packet that Mr. Bergquist was provided back
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         ·1· in 2019, if anything?
         ·2· · · A.· ·All of them, they all got that same package.
         ·3· They got --
         ·4· · · Q.· ·How do you know that, is what I'm trying to get
         ·5· you to answer.· Is it because you talked to them?
         ·6· You've seen the packets they got?· How do you know that?
         ·7· · · A.· ·Yes, talked to people.· If you're there at the
         ·8· same time, they offered them all the same package,
         ·9· either --
         10· · · Q.· ·Were you there to hear the offer made to those
         11· people you are describing?
         12· · · A.· ·I was not in the room.· Each one was called in
         13· by Dawn individually, and they got their packet.
         14· · · Q.· ·So what is your belief about what happened to
         15· these people whose date is reflected in 2019 is based
         16· upon what either one of them or more than one of them
         17· told you; is that right?
         18· · · A.· ·Yes.
         19· · · Q.· ·And that would include the reorganization that
         20· affected the planner position in April of 2019 as well?
         21· · · A.· ·No.· She went from the planner to records, and
         22· they took her out of records at that time because -- I'm
         23· sorry to say, because she was old.· They said they
         24· eliminated her as a planner, but they put her in
         25· records.
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         ·1· · · Q.· ·What's her first name?
         ·2· · · A.· ·Lola, L-o-l-a.
         ·3· · · Q.· ·Loda Bodemann [sic]?
         ·4· · · A.· ·Lola, L-o-l-a.
         ·5· · · Q.· ·All right.· So she was transferred to records,
         ·6· and in records, what did she do, if you know?
         ·7· · · A.· ·She was a clerk as far as I know.· I don't know
         ·8· what else she did.
         ·9· · · Q.· ·Is she still employed by the agency, if you
         10· know?
         11· · · A.· ·No.· She was in that group that they picked up.
         12· · · Q.· ·Okay.
         13· · · A.· ·But she originally was in planning, and they
         14· took her out of planning and put her in there.
         15· · · Q.· ·Okay.
         16· · · · · ·MR. STEFANY:· All right.· Give me two more
         17· · · minutes.· I have to check some notes.· I'm about
         18· · · done.· Be right back.
         19· · · · · ·MR. MACDONALD:· Okay.
         20· · · · · · · · · · · · · (Recess)
         21· · · · · ·MR. STEFANY:· Ms. Clark, I appreciate your
         22· · · patience.· I have no further questions of you this
         23· · · afternoon.· Thank you.
         24· · · · · ·THE DEPONENT:· Thank you.
         25· · · · · ·MR. MACDONALD:· I have no questions.· The
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         ·1· · · witness will reserve the right to read and sign.
         ·2· · · · · ·THE COURT REPORTER:· David, do you want to
         ·3· · · order or hold?
         ·4· · · · · ·MR. STEFANY:· Yeah, Michelle, print it up for
         ·5· · · me.
         ·6· · · · · ·THE COURT REPORTER:· Kyle, do you want a copy?
         ·7· · · · · ·MR. MACDONALD:· We will hold off for now.
         ·8· · · · · ·THEREUPON, the deposition of Jenna Clark, taken
         ·9· at the instance of the defendant, was concluded at
         10· 4:10 p.m.
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         ·1· · · · · · · · CERTIFICATE OF REPORTER OATH
         ·2
         ·3· STATE OF FLORIDA
         ·4· COUNTY OF HILLSBOROUGH
         ·5
         ·6· · · · · ·I, the undersigned authority, hereby certify
         ·7· that the witness named herein remotely appeared before
         ·8· me and was duly sworn on December 7, 2023.
         ·9· · · · · ·WITNESS my hand and official seal this 19th day
         10· of December, 2023.
         11
         12
         13
         14
         15· · · · · · · · · · · __________________________________
         16· · · · · · · · · · · MICHELLE L. DELIMAN, FPR
         17· · · · · · · · · · · NOTARY PUBLIC - STATE OF FLORIDA
         18· · · · · · · · · · · MY COMMISSION NO. HH 110064
         19· · · · · · · · · · · EXPIRES:· June 20, 2025
         20
         21
         22
         23
         24
         25
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         ·1· · · · · · · REPORTER'S DEPOSITION CERTIFICATE

         ·2

         ·3· STATE OF FLORIDA

         ·4· COUNTY OF HILLSBOROUGH

         ·5

         ·6· · · · · ·I, Michelle L. Deliman, FPR, Notary Public in

         ·7· and for the State of Florida at large, hereby certify

         ·8· that the witness appeared remotely before me for the

         ·9· taking of the foregoing deposition, and that I was

         10· authorized to and did stenographically and

         11· electronically report the deposition, and that the

         12· transcript is a true and complete record of my

         13· stenographic notes and recordings thereof.

         14· · · · · ·I FURTHER CERTIFY that I am neither an

         15· attorney, nor counsel for the parties to this cause, nor

         16· a relative or employee of any attorney or party

         17· connected with this litigation, nor am I financially

         18· interested in the outcome of this action.

         19· · · · · ·DATED THIS 19th day of December, 2023,

         20· Hillsborough County, Florida.

         21

         22

         23· __________________________________
         · · · · MICHELLE L. DELIMAN, FPR
         24

         25
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         ·1· · · · · · ·WITNESS NOTIFICATION LETTER

         ·2

         ·3

         ·4· December 19, 2023

         ·5
         · · KYLE MACDONALD, ESQUIRE
         ·6· Derek Clark Law Group
         · · 520 Brickell Key Drive
         ·7· Suite O-301
         · · Miami, FL· 33131
         ·8· kyle@derekclarklaw.com

         ·9
         · · In Re:· Clark vs Marceno
         10· · · · · Deposition taken on December 7, 2023
         · · · · · · U.S. Legal Support Job No: 6475467-001
         11

         12
         · · The transcript of the above proceeding is now available
         13· for your review.

         14
         · · Please call 813-876-4722 to schedule an appointment
         15· between the hours of 9:00 a.m. and 4:00 p.m., Monday
         · · through Friday, at U.S. Legal Support office located
         16· nearest you.

         17· Please complete your review within 30 days.

         18

         19· Sincerely,

         20
         · · Michelle Deliman, FPR
         21· U.S. Legal Support, Inc.
         · · 16825 Northchase Drive, Suite 900
         22· Houston, TX· 77060

         23

         24
         · · CC via transcript:
         25· David Stefany, Esquire
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         ·1· · · · · · · · · · · · ERRATA SHEET

         ·2· · · · · · ·DO NOT WRITE ON THIS TRANSCRIPT
         · · · · · · · · · ·ENTER CHANGE ON THIS PAGE
         ·3
         · · · · · · · · · · ·IN RE: Clark vs Marceno
         ·4· · · · · · · · · · · · Jenna Clark
         · · · · · · · · · · · · · · 12/7/23
         ·5· · · · · · · · ·U.S. Legal Job No: 6475467-001

         ·6· Page No.· · Line No.· · · ·Change· · · · · · · Reason
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         19· _______________________________________________________
         · · _______________________________________________________
         20· _______________________________________________________

         21
         · · Under penalties of perjury, I declare that I have read
         22· the foregoing document and that the facts stated in it
         · · are true.
         23
         · · ___________· · · · · · · · · ·____________________
         24· Date· · · · · · · · · · · · · ·Jenna Clark

         25
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